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        1                          UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TENNESSEE
        2                                    GREENEVILLE

        3
             UNITED STATES OF AMERICA,             .   DOCKET NO. CR-2-19-14
        4                                          .
                     GOVERNMENT,                   .
        5                                          .
                             VS.                   .   GREENEVILLE, TN
        6                                          .   APRIL 8, 2020
             XIAORONG YOU,                         .   1:45 P.M.
        7                                          .
                     DEFENDANT.                    .
        8                                          .
             .   .   .   .    .    .   .   .   .   .
        9

       10                          TRANSCRIPT OF MOTION HEARING
                               BEFORE THE HONORABLE J. RONNIE GREER
       11                          UNITED STATES DISTRICT JUDGE

       12                (DEFENDANT PRESENT BY VIDEO CONFERENCE)

       13
             APPEARANCES:
       14
             FOR THE GOVERNMENT:               U.S. DEPARTMENT OF JUSTICE
       15                                      OFFICE OF U.S. ATTORNEY
                                               TIMOTHY CURTIS HARKER, AUSA
       16                                      800 MARKET STREET, SUITE 211
                                               KNOXVILLE, TN 37902
       17
             FOR THE GOVERNMENT                U.S. DEPARTMENT OF JUSTICE
       18    VIA VIDEOCONFERENCE:              OFFICE OF U.S. ATTORNEY
                                               J. DOUGLAS OVERBEY,
       19                                      UNITED STATES ATTORNEY
                                               800 MARKET STREET, SUITE 211
       20                                      KNOXVILLE, TN 37902

       21    FOR THE GOVERNMENT                U.S. DEPARTMENT OF JUSTICE -
             VIA TELEPHONE:                    (CRIMINAL DIVISION)
       22                                      COMPUTER CRIME AND INTELLECTUAL
                                               PROPERTY SECTION
       23                                      MATTHEW R WALCZEWSKI, AUSA
                                               1301 NEW YORK AVENUE N.W.,
       24                                      SUITE 600
                                               WASHINGTON, DC 20530
       25




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        1                                U.S. DEPARTMENT OF JUSTICE
                                         (NATIONAL SECUIRTY)
        2                                NATIONAL SECUIRTY DIVISION,
                                         COUNTERTERRORISM SECTION
        3                                NICHOLAS O. HUNTER, AUSA
                                         950 PENNSYLVANIA AVENUE N.W.
        4                                WASHINGTON, DC 20530

        5    FOR THE DEFENDANT:          COLLINS SHIPLEY, PLLC
                                         COREY B. SHIPLEY, ESQ.
        6                                128 SOUTH MAIN STREET, SUITE 102
                                         GREENEVILLE, TN 37743
        7
             FOR THE DEFENDANT           JESSEE & JESSEE
        8    VIA VIDEOCONFERENCE:        THOMAS C. JESSEE, ESQ.
                                         412 EAST UANAKA AVENUE
        9                                JOHNSON CITY, TN 37601

       10                                COLLINS SHIPLEY, PLLC
                                         MICHAEL CURTIS COLLINS, ESQ.
       11                                128 SOUTH MAIN STREET, SUITE 102
                                         GREENEVILLE, TN 37743
       12

       13

       14

       15

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       17

       18

       19

       20

       21

       22    COURT REPORTER:             KAREN J. BRADLEY
                                         RPR-RMR
       23                                U.S. COURTHOUSE
                                         220 WEST DEPOT STREET
       24                                GREENEVILLE, TN 37743

       25    PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY, TRANSCRIPT
             PRODUCED BY COMPUTER.



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        1          (CALL TO ORDER OF THE COURT AT 1:45 P.M.)

        2                 THE COURT:     GOOD AFTERNOON.

        3                 ATTORNEYS:     GOOD AFTERNOON, YOUR HONOR.

        4                 THE COURT:     ALL RIGHT.   MS. HOPSON, WOULD YOU

        5    CALL THIS CASE, PLEASE.

        6                 THE CLERK:     USA VERSUS XIAORONG YOU, CASE

        7    NUMBER CR-2-19-14.

        8                 THE COURT:     ALL RIGHT.   OF COURSE, MR. SHIPLEY

        9    AND MR. HARKER ARE PRESENT HERE IN THE COURTROOM.

       10                 IS THAT THE U.S. ATTORNEY?       IT IS.

       11                 MR. OVERBEY:     YES, IT IS, YOUR HONOR.     GOOD

       12    AFTERNOON.

       13                 THE COURT:     GOOD AFTERNOON.

       14                 THE UNITED STATES ATTORNEY, MR. OVERBEY, HAS

       15    JOINED US BY VIDEO.      WE HAVE A COUPLE OF LAWYERS FOR THE

       16    GOVERNMENT ON THE TELEPHONE.

       17                 ALL RIGHT.     COUNSEL, WE'LL TRY TO MOVE THROUGH

       18    THIS AS QUICKLY AS WE CAN.       I HAVE TRIED NOT TO SCHEDULE

       19    HEARINGS DURING THIS PERIOD OF TIME, BUT THIS ONE SEEMED

       20    TO BE ONE WE COULDN'T AVOID A HEARING ON.         THERE ARE TWO

       21    MATTERS, OF COURSE, PENDING BEFORE THE COURT.          THE FIRST

       22    ONE IS A STATUS CONFERENCE, BASICALLY A SCHEDULING

       23    CONFERENCE TO TALK ABOUT THE RESCHEDULING OF THIS CANCELED

       24    TRIAL; AND, SECONDLY, TO REVISIT THE MOTION FOR BOND THAT

       25    WAS PREVIOUSLY FILED BY, BY THE DEFENDANT.         I SHOULD ALSO




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        1    NOTE THAT THE DEFENDANT IS PRESENT BY VIDEO AS WELL.

        2                  MS. YOU, CAN YOU HEAR US OKAY?

        3                  THE DEFENDANT:     YES.     YES, YOUR HONOR.

        4                  THE COURT:     OKAY.   GOOD.     IF AT ANY TIME YOU

        5    HAVE TROUBLE HEARING, LET ME KNOW, PLEASE.

        6                  THE DEFENDANT:     THANK YOU, YOUR HONOR.

        7                  THE COURT:     ALL RIGHT.      COUNSEL, UNLESS THERE'S

        8    SOME REASON TO DO IT IN A DIFFERENT ORDER, I SUGGEST WE

        9    TAKE UP THE BOND MOTION FIRST AND THEN DEAL WITH THE

       10    SCHEDULING ISSUE, ALL RIGHT.

       11                  MR. SHIPLEY, I TAKE IT YOU'RE GOING TO ADDRESS

       12    THAT ISSUE.    WHY DON'T YOU, SO THAT WE CAN MAINTAIN AS

       13    MUCH SEPARATION AS POSSIBLE, JUST REMAIN SEATED AND SPEAK

       14    INTO THAT MICROPHONE THERE, AND THEN MR. HARKER CAN DO THE

       15    SAME.

       16                  MR. SHIPLEY:     VERY WELL, JUDGE.

       17                  THE COURT:     AND, MR. SHIPLEY, I'LL JUST JUMP

       18    RIGHT IN BEFORE YOU START.       LET ME TELL YOU WHAT MY

       19    CONCERN AT THIS POINT IS.       AS THE RECORD REFLECTS, THE

       20    COURT ENTERED AN ORDER INITIALLY GRANTING THE DEFENDANT'S

       21    MOTION FOR BOND IN THIS CASE, BUT BECAUSE OF SOME CONCERNS

       22    THAT AROSE BASED ON INFORMATION RECEIVED FROM THE

       23    PROBATION OFFICE I WAS MORE CONCERNED THAT THERE HAD BEEN

       24    SOME MISINFORMATION, HOPEFULLY NOT MISREPRESENTATIONS,

       25    PROVIDED TO THE COURT IN THOSE PLEADINGS, SPECIFICALLY




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        1    WITH RESPECT TO THE POSSIBILITY OF THE DEFENDANT'S HUSBAND

        2    BEING A THIRD-PARTY CUSTODIAN AND THE REPRESENTATION TO

        3    THE COURT THAT MS. YOU WOULD LIVE IN PROPERTY OWNED BY HER

        4    IN JOHNSON CITY.

        5                 I HAVE SEEN YOUR SUPPLEMENTAL PLEADING, I'VE

        6    READ ALL THE PLEADINGS, BUT I'LL BE HAPPY TO HEAR FROM

        7    YOU, BUT MY CONCERN, FRANKLY, IS WITH, WITH THOSE ISSUES.

        8                 MR. SHIPLEY:    YOUR HONOR, FIRST AND FOREMOST

        9    THAT'S WHY I DECIDED TO FILE THE SUPPLEMENTAL PLEADING

       10    YESTERDAY BECAUSE, FIRST AND FOREMOST, JUDGE, THERE WAS

       11    NEVER ANY, ANY INTENT.      I HAVE TALKED WITH THE UNITED

       12    STATES PROBATION OFFICE ABOUT ANY POSSIBLE MISINFORMATION

       13    OR MISREPRESENTATION, JUDGE, THAT WAS NEVER, NEVER MY

       14    INTENT, NEVER MR. JESSEE'S INTENT TO DO SO.

       15                 JUDGE, AS YOU KNOW VERY WELL, WE'RE OPERATING

       16    ON CHANGING CIRCUMSTANCES EVERYDAY.        WE WERE UNDER THE

       17    UNDERSTANDING THAT AT THE TIME WE FILED OUR ORIGINAL

       18    MOTION FOR RELEASE, PRETRIAL RELEASE, I SHOULD SAY,

       19    THAT -- WELL, I SHOULD SAY THIS, THAT HER HUSBAND, MR. SU

       20    {PH}, WE WEREN'T, WE WEREN'T SURE AT THAT TIME WHAT HIS

       21    JOB SITUATION WAS GOING TO BE.       WE THINK NOW BASED ON WHAT

       22    WE KNOW THAT HE IS GOING TO BE AN ESSENTIAL EMPLOYEE.

       23    HE'S GOING TO GET TO KEEP HIS JOB.        THAT IS REFLECTED IN

       24    THE SUPPLEMENT, JUDGE.      SOUTH CAROLINA FINALLY FOLLOWED

       25    SUIT ON APRIL THE 6TH AND ISSUED THE STAY-AT-HOME ORDER.




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        1    THAT PROVIDES THE, THE ISSUE WHY, WHY WE, OR WHY I

        2    DISCUSSED THAT WITH THE PROBATION OFFICE ABOUT A POSSIBLE

        3    ALTERNATIVE.

        4                  JUDGE, IT WAS NEVER INTENDED FROM THE DEFENSE

        5    SIDE, WHEN MR. JESSEE AND I SAT IN MY OFFICE AND TALKED TO

        6    THE PROBATION OFFICE, THAT THIS WAS THE ONLY OPTION THAT

        7    WAS THERE.     QUITE THE CONTRARY, JUDGE.      WE WERE OPERATING

        8    UNDER THE ASSUMPTION THAT WE HAD THE HEARING SCHEDULED

        9    WITH JUDGE WYRICK AND JUDGE WYRICK WAS GOING TO SET THOSE

       10    CONDITIONS OF BOND, SET THOSE CONDITIONS OF RELEASE.           IT

       11    WAS JUST A SUGGESTION THAT SHE COULD RESIDE IN ANDERSON,

       12    SOUTH CAROLINA AND BE SUBJECTED TO THE SAME BOND

       13    CONDITIONS.

       14                  JUDGE, AS I'VE NOTATED IN MY SUPPLEMENT THAT

       15    WAS ONE OF THE OPTIONS THAT I SAY THAT, YOU KNOW, WITH THE

       16    PROPER CONDITIONS I BELIEVE THAT SHE COULD BE -- THAT HER

       17    HUSBAND COULD ACT AS A THIRD-PARTY CUSTODIAN WITH THE

       18    PROPER HOME CONFINEMENT, ELECTRONIC MONITORING AS WE HAVE

       19    SEEN IN THE PAPERWORK HERE THAT WAS JUST PROVIDED TO US,

       20    EVEN THOUGH THERE IS A DISTANCE ISSUE, I UNDERSTAND THAT,

       21    JUDGE.    WE'VE GOT 142 MILES FROM WHERE WE SIT RIGHT NOW TO

       22    WHERE HER HOME IS, BUT THAT WOULD --

       23                  THE COURT:   LET ME GO AHEAD AND ADDRESS THAT AS

       24    WELL, MR. SHIPLEY.     I'M NOT LIKELY TO APPROVE HER LIVING

       25    IN ANDERSON, SOUTH CAROLINA.       AS YOU NOTED IN YOUR PLEA,




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        1    IT'S 142 MILES FROM GREENEVILLE.        IT -- ALTHOUGH I HAVE

        2    FOUND THAT THE RISK OF FLIGHT HAS BEEN TEMPERED SOMEWHAT

        3    HERE BY THE CIRCUMSTANCES, I THINK THERE IS STILL SOME

        4    CONCERN ABOUT RISK OF FLIGHT; AND I, I GUESS I'D REPEAT

        5    WHAT I SAID TO THE PROBATION OFFICER EARLIER, I'M NOT

        6    INCLINED TO GIVE HER A THREE HOUR HEAD START.

        7                 MR. SHIPLEY:    VERY WELL, JUDGE, AND THAT WOULD

        8    TAKE ME TO MY SECOND OPTION, JUDGE, THAT I WOULD PRESENT

        9    TO THE COURT.

       10                 THERE WAS SOME INFORMATION, AND I'M, I'M

       11    GETTING THIS INFORMATION, JUDGE, FROM MS., DR. -- FROM

       12    DR. YOU'S HUSBAND THAT I'M GETTING INFORMATION TO FROM

       13    WHAT THEIR CONVERSATIONS WERE, PROBATION, MEANING THEIR

       14    CONVERSATIONS WITH DR. YOU'S HUSBAND, SO I'M GETTING, YOU

       15    KNOW, TWO DIFFERENT VERSIONS -- OR I DON'T MEAN TWO

       16    DIFFERENT VERSIONS, BUT TWO VERSIONS, I SHOULD SAY, OF

       17    KIND OF WHAT'S GOING ON.

       18                 ALTERNATIVELY, JUDGE, IN MY SUPPLEMENT I

       19    SUGGESTED THAT SHE LIVE IN WASHINGTON COUNTY.          I REREAD

       20    OUR MOTION THIS MORNING, AND SAYING THAT, JUDGE, I BELIEVE

       21    WE SAID IN OUR MOTION THAT SHE OWNS PROPERTY IN WASHINGTON

       22    COUNTY AND SHE CAN LIVE THERE.       SHE DOES IN FACT HAVE A

       23    TOWNHOUSE OR A CONDO IN WASHINGTON COUNTY.         THE TENANTS

       24    ARE THERE, THEY HAVE A LEASE THROUGH I BELIEVE IT'S

       25    NOVEMBER OF 2020.     MR. JESSEE CONFIRMED WITHIN THE LAST




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        1    COUPLE OF DAYS THROUGH HER, THROUGH DR. YOU'S HUSBAND THAT

        2    IF THE COURT WERE TO REQUIRE THAT PLACE BE THE SPECIFIC

        3    LOCATION WHERE SHE IS TO RESIDE, THAT THERE IS A POSSI-

        4    BILITY THE TENANTS CAN MOVE OUT AND SEEK OTHER RESIDENCE.

        5                 THE COURT:     WELL, I'M NOT SURE IT'S HELPFUL TO

        6    TALK IN TERMS OF POSSIBILITIES AT THIS POINT.

        7                 MR. SHIPLEY:     SECONDLY, JUDGE, IF THE COURT

        8    DOESN'T -- THAT'S JUST AN OPTION, BUT, ALTERNATIVELY,

        9    JUDGE, THERE IS A SET OF APARTMENTS THAT I'M SURE THE

       10    COURT IS VERY FAMILIAR WITH THAT'S LITERALLY .5 MILES AWAY

       11    FROM THE FEDERAL BUREAU OF INVESTIGATION, IT'S CALLED THE

       12    HAVEN AT KNOB CREEK.

       13                 JUDGE, WE, WE CONFIRMED RECENTLY, AND THAT HAS

       14    BEEN CONFIRMED VIA E-MAIL, THAT THIS APARTMENT COMPLEX

       15    LOCATED AT 1185 WEST MOUNTAIN VIEW ROAD, JOHNSON CITY,

       16    TENNESSEE, AND, LIKE I SAID, THAT IT'S WITHIN .5 MILES OF

       17    DRIVING FROM THE FEDERAL BUREAU OF INVESTIGATION OFF KNOB

       18    CREEK ROAD, THEY DO HAVE LODGING, AND THEY ARE WILLING TO

       19    ACCEPT DR. YOU TO BE A PLACE OF POSSIBLE RESIDENCE.

       20                 JUDGE, I THINK THAT BEING, BEING THE LOCATION

       21    IT IS, THAT WOULD ALLEVIATE THE COURT'S CONCERN ABOUT IT

       22    BEING IN EAST TENNESSEE.      IT ALSO PUTS HER IN A POSITION

       23    THAT SHE IS IN, IF SHE IS CONFINED, WHICH I'M ASSUMING SHE

       24    WILL BE IF THE COURT SO CHOOSES TO RELEASE HER TO BE AT

       25    HOME, HOUSE ARREST, IF YOU WILL, THAT WOULD ALLOW HER EASY




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        1    ACCESS TO THE FEDERAL BUREAU OF INVESTIGATION IF WE HAVE

        2    TO GO LOOK AT -- IF WE HAVE TO GO VIEW EVIDENCE THERE OR

        3    JUST IN THE LOCALE BEING THAT CLOSE TO THE FEDERAL BUREAU

        4    OF INVESTIGATION.     JUDGE, THAT IS MORE FOR SURE, AND I

        5    CAN, AND I CAN PROVIDE THAT CONFIRMATION, JUDGE, THAT

        6    THERE IS ACTUAL LODGING FOR HER TO HAVE THERE.          THAT TAKES

        7    UP THE CONCERN OF SPECULATING WHETHER OR NOT THE TENANTS

        8    THAT ARE THERE UNDER CONTRACT RIGHT NOW TO BE THERE UNTIL

        9    NOVEMBER 2020 TO VACATE.

       10                 THIRD, JUDGE, MY --

       11                 THE COURT:    MR. SHIPLEY, THAT GOES RIGHT TO THE

       12    HEART OF MY CONCERN ABOUT THE REPRESENTATIONS THAT WERE

       13    MADE TO THE COURT.     WHETHER YOU KNEW AT THE TIME YOU FILED

       14    THE PLEADING OR NOT THAT THAT PROPERTY WAS LEASED, YOU

       15    CLEARLY WERE PUT ON NOTICE OF IT BY THE TIME THE GOVERN-

       16    MENT'S RESPONSE WAS FILED.       MR. HARKER NOTED THE FACT THAT

       17    THAT PROPERTY WAS UNDER LEASE IN A FOOTNOTE IN HIS

       18    PLEADING, AND, YET, I HEARD NOTHING FURTHER AND ONLY

       19    LEARNED FROM THE PROBATION OFFICE JUST BEFORE JUDGE

       20    WYRICK'S HEARING THAT THAT IN FACT WAS PROPERTY THAT WAS

       21    NOT AVAILABLE TO HER.      THAT -- I'M NOT SURE HOW THAT

       22    MISUNDERSTANDING ARISES; BUT I TAKE IT AT THIS POINT THAT

       23    YOU ACKNOWLEDGE THAT THE PROPERTY SHE OWNS IN WASHINGTON

       24    COUNTY IS NOT CURRENTLY AVAILABLE FOR HER TO RESIDE THERE

       25    BECAUSE IT IS LEASED TO THIRD PARTIES?




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      1                 MR. SHIPLEY:     JUDGE, THE SHORT ANSWER TO THAT

      2    QUESTION IS I ACKNOWLEDGE THAT IT IS LEASED, AND I NEVER

      3    INTENDED TO, IN ANY PLEADING THAT WE FILED WITH THE COURT

      4    TO COME ACROSS AND SAY THAT, TRYING TO HIDE THAT FROM THE

      5    COURT, SAYING THAT IT NOT AVAILABLE.        MY UNDERSTANDING,

      6    JUDGE, IS THAT AT ANY TIME, BASED ON WHAT I HAVE BEEN TOLD

      7    BY DR. YOU'S HUSBAND, THAT IT CAN -- THAT THE PARTIES

      8    THERE ARE -- THERE ARE OPTIONS, JUDGE, FOR THAT PARTY

      9    THERE TO VACATE THE PREMISES AND SEEK OTHER, OTHER

     10    RESIDENCES, JUDGE, LIKE AND, AND --

     11                 THE COURT:     IS THERE A PROVISION IN THE LEASE

     12    THAT ALLOWS THE RIGHT FOR YOU TO SIMPLY CANCEL THAT LEASE?

     13                 MR. SHIPLEY:     JUDGE, AS FAR AS I'M CONCERNED, I

     14    DON'T KNOW THAT THERE IS A UNILATERAL PROVISION IN THAT

     15    LEASE THAT WOULD ALLOW HER TO CANCEL THAT LEASE, I'VE JUST

     16    BEEN TOLD THAT THAT'S A POSSIBILITY, JUDGE; AND I UNDER-

     17    STAND WHERE THE COURT IS COMING FROM, BUT IN OUR INITIAL

     18    MOTION THE WAY IT WAS WRITTEN WHEN IT SAYS THAT SHE OWNS

     19    PROPERTY IN WASHINGTON COUNTY AND CAN RESIDE THERE, IT'S,

     20    IT WAS ALWAYS A POSSIBILITY, JUDGE, FOR HER TO RESIDE

     21    THERE AT THAT PLACE, BUT ALSO TO RESIDE IN WASHINGTON

     22    COUNTY.    WE THOUGHT THAT'S SOMETHING THAT THE COURT WOULD

     23    REQUIRE HER TO DO.     WE CAN ABSOLUTELY FIND PROPER

     24    ACCOMMODATIONS.

     25                 OTHERWISE, JUDGE, WE HAVE, WE HAVE ALSO IN-




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      1    QUIRED SINCE, SINCE THIS HAS BEEN GOING ON, WE'VE INQUIRED

      2    THROUGH MULTIPLE -- WELL, NOT MULTIPLE, BUT A SINGLE

      3    REALTOR IN THE WASHINGTON COUNTY AREA THAT BASICALLY

      4    SHOWED US THAT THERE ARE OTHER ACCOMMODATIONS, AND

      5    MR. JESSEE AND I HAVE FOLLOWED UP ON THAT AND CONFIRMED

      6    THAT A PLACE WITHIN A HALF A MILE OF THE FBI IS IN FACT

      7    AVAILABLE.    SO, JUDGE, IT WAS NEVER --

      8                  THE COURT:     WHICH ONE OF THOSE COMPLEXES ON

      9    KNOB CREEK IS THE HAVEN?       THERE -- I CAN THINK OF RIGHT

     10    NOW AT LEAST THREE OF THOSE COMPLEXES RIGHT THERE ON KNOB

     11    CREEK ROAD.

     12                  MR. SHIPLEY:     JUDGE, IF I'M NOT MISTAKEN --

     13                  THE COURT:     IS THAT THE GATED COMMUNITY OR --

     14                  MR. SHIPLEY:     I THINK SO, JUDGE.

     15                  MR. JESSEE:     YES.

     16                  MR. SHIPLEY:     THE REASON I SAY THAT IS, I THINK

     17    IT IS, AND MR. JESSEE, I KNOW HE'S TALKED TO ME ABOUT

     18    THAT, HE CAN PROBABLY SPEAK TO THAT BECAUSE I THINK HE'S

     19    VERY FAMILIAR WITH THE HAVEN; BUT I THINK, JUDGE, THAT IS

     20    THE -- IF YOU'RE TRAVELING TO JOHNSON CITY AND YOU TAKE

     21    THE BACK ROAD ON KNOB -- IF YOU TAKE KNOB CREEK ROAD

     22    INSTEAD OF TAKING -- YOU WOULD TAKE A LEFT ONTO MOUNTAIN

     23    VIEW IS THE APARTMENT, IT'S THE CORPORATE QUARTERS, AND I

     24    THINK THAT'S WHAT THEY SPECIALIZE IN IS FOR PEOPLE THAT

     25    ARE COMING THERE TO STAY.       THEY'RE FULLY FURNISHED




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      1    APARTMENTS, AND THAT'S WHERE WE HAVE CONFIRMED THAT THERE

      2    IS ACTUALLY A PLACE FOR HER TO STAY.

      3                 THE COURT:    ALL RIGHT.    THAT DOESN'T --

      4    MR. JESSEE, YOU MIGHT WANT TO JUMP IN.        THAT DOESN'T SOUND

      5    LIKE THE GATED COMMUNITY, THAT SOUNDS MORE LIKE THE ONE

      6    RIGHT THERE BEHIND THE OLD SHOPPING CENTER.

      7                 MR. JESSEE:    YOUR HONOR, IT IS THE HAVEN, IT IS

      8    THE ONE YOU'RE TALKING ABOUT, IT IS THE GATED COMMUNITY.

      9                 THE COURT:    IT IS THE GATED COMMUNITY.

     10                 MR. JESSEE:    CORPORATE QUARTERS OF KNOXVILLE

     11    LEASES PERMANENTLY 20 OF THOSE FACILITIES.         I HAPPEN TO

     12    HAVE LIVED IN ONE FOR SIX MONTHS ABOUT SIX YEARS AGO.            I

     13    CONFIRMED WITH THEM, THEY'RE HOLDING A ONE BEDROOM.          THEY

     14    CONTROL THOSE UNITS, BUT IT IS IN THE HAVEN, WHICH IS

     15    THOSE MULTI-COLORED SECTIONS WITH THE GATE RIGHT THERE, ON

     16    MOUNTAIN VIEW ROAD YOU'D COME DOWN TO THE CORNER AND YOU

     17    EITHER GO UNDER THE OVERPASS IF YOU GO STRAIGHT OR THE

     18    RAILROAD OR YOU TURN LEFT AND GO DOWN TO THE FBI OFFICE.

     19    THE, THE UNIT IS AVAILABLE NOW.       I TALKED TO THEM AGAIN

     20    THIS MORNING.     IT'S FULLY FURNISHED.     SHE ONLY HAS TO SHOW

     21    UP WITH HER CLOTHES AND TOILETRIES.

     22                 THE COURT:    ALL RIGHT.

     23                 MR. JESSEE:    AND I JUST AT RANDOM ASKED THEM

     24    WOULD THEY BE AVAILABLE FOR AT LEAST FOUR TO SIX MONTHS

     25    DEPENDING ON WHEN YOUR HONOR WAS GOING TO SET THE TRIAL,




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      1    AND THEY SAID IT WAS, AND WE JUST HAVE TO GIVE THEM NOTICE

      2    TO CLEAN TO MOVE IN.

      3                  THE COURT:     ALL RIGHT.

      4                  ALL RIGHT.     MR. SHIPLEY, ANYTHING ELSE ON THAT

      5    ISSUE THEN?

      6                  AND, BY THE WAY, I JUST PULLED UP YOUR MOTION.

      7    HERE'S WHAT IT SAYS, IT SAYS, "DR. YOU HAS PROPERTY IN

      8    WASHINGTON COUNTY, TENNESSEE WHERE SHE WOULD STAY IN THE

      9    EVENT OF HER RELEASE."       THAT'S A LITTLE DIFFERENT THAN

     10    SAYING THAT SHE CAN STAY THERE OR SHE MIGHT STAY THERE OR

     11    SHE COULD STAY THERE, IT SAYS THAT IS WHERE SHE WOULD

     12    STAY.    THAT WAS MY CONCERN.     AND THAT WAS NEVER CORRECTED

     13    AFTER THE FILING OF THE GOVERNMENT'S PLEADING, NOR IN FACT

     14    WAS IT CORRECTED UNTIL YESTERDAY IN THE RECORD.

     15                  MR. SHIPLEY:     JUDGE, I'M --

     16                  THE COURT:     AND THE VERY NEXT SENTENCE

     17    INDICATES THAT DR. YOU'S HUSBAND IS CURRENTLY EMPLOYED IN

     18    GREENEVILLE, SOUTH CAROLINA AND COULD STAY WITH HER IN THE

     19    EVENT OF HER RELEASE.       THAT DOES NOT APPEAR TO HAVE NECES-

     20    SARILY BEEN THE CASE EITHER, ALTHOUGH I'LL ACKNOWLEDGE

     21    THAT THE STAY-AT-HOME ORDER WAS NOT ENTERED IN SOUTH

     22    CAROLINA UNTIL JUST A FEW DAYS AGO.

     23                  MR. JESSEE:     YOUR HONOR, NOT TO INTERRUPT --

     24                  THE COURT:     THAT'S WHAT I SEE AS TROUBLING.

     25                  MR. JESSEE:     YOUR HONOR --




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      1                 THE COURT:     GO AHEAD, MR. JESSEE.

      2                 MR. JESSEE:     -- NOT TO INTERRUPT, IT IS HER

      3    HUSBAND'S INTENTION, HAVING TALKED TO HIM, THAT IF HE HAS

      4    TO PHYSICALLY STAY WITH HER, HE HAD -- IT'S A TWO-HOUR

      5    DRIVE TO HIS OFFICE IN SOUTH CAROLINA, HE WOULD JUST HAVE

      6    TO MAKE THE DRIVE EVERYDAY AND RETURN, AND HE UNDERSTANDS

      7    THAT.

      8                 THE COURT:     ALL RIGHT.

      9                 ALL RIGHT.     ANYTHING ELSE ON THE MOTION?

     10                 MR. SHIPLEY:     AND, JUDGE, JUST AGAIN ON THE

     11    RECORD, THAT'S WHY THAT WE MADE SURE TO FILE THE

     12    SUPPLEMENT YESTERDAY.      AGAIN, IT WAS NEVER ANY INTENT TO

     13    MISLEAD THE COURT, MISLEAD THE PROBATION OFFICE.          IT WAS

     14    FROM THE TIME, I THINK ON MARCH THE 27TH, JUDGE -- AND I

     15    APOLOGIZE, I'M LOOKING AT THE COURT'S ORDER HERE, ORDER ON

     16    RELEASE WAS MARCH THE 25TH, AND I SPOKE TO PROBATION, AND

     17    MR. JESSEE AND I IN MY OFFICE SPOKE TO PROBATION ON MARCH

     18    THE 27TH, AND THAT'S JUST WHERE WE WERE SUGGESTING THAT

     19    THERE COULD BE ALTERNATIVES, AND IT WAS NEVER A -- I DON'T

     20    KNOW HOW TO SAY IT, JUDGE, OTHER THAN IT WAS NEVER -- TO

     21    US IT WAS SOMETHING THAT WE WERE TRYING TO PROVIDE OPTIONS

     22    TO WHERE SHE COULD STAY, AND IT WAS NEVER INTENDED TO --

     23    AND I THOUGHT THAT WAS SOMETHING, JUDGE, BASED ON

     24    PROBATION'S REPRESENTATIONS TO THE COURT SUBSEQUENTLY, IF

     25    THAT'S SOMETHING THAT DIDN'T WORK, WE COULD GO FROM THERE;




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      1    BUT, JUDGE, THERE WAS NEVER ANY INTENT IN HERE TO MISLEAD

      2    THE COURT, AND THAT'S WHY I FELT IT NECESSARY YESTERDAY

      3    BEFORE WE GOT IN HERE BASED ON THE COURT'S MOST RECENT

      4    ORDER REGARDING THE MISREPRESENTATIONS OR THE POTENTIAL

      5    MISREPRESENTATIONS.      IT WAS NEVER AN INTENTIONAL

      6    MISREPRESENTATION.     NOW, WAS IT A MISTAKE?      WAS IT WORDED

      7    IMPROPERLY?    YES, JUDGE, AND I'LL ACKNOWLEDGE THAT IT WAS

      8    WORDED IMPROPERLY, BUT IT WAS NEVER ANY TYPE OF

      9    INTENTIONAL, INTENTIONAL ACT TO MISLEAD THE COURT OR

     10    PROBATION BECAUSE FINDING A SUITABLE RESIDENCE FOR HER,

     11    FOR DR. YOU, PENDING HER POTENTIAL RELEASE, I'M ASSUMING

     12    WOULD BE SOMETHING THAT PROBATION WOULD HAVE TO SAY THIS

     13    IS ACCEPTABLE AND THIS WOULD BE ACCEPTABLE TO JUDGE WYRICK

     14    AND ALSO ULTIMATELY ACCEPTABLE TO YOU, YOUR HONOR, SO.

     15    JUST, JUST FOR THAT, JUDGE, THAT'S, JUST WANTED TO MAKE

     16    SURE THAT'S WHY WE FILED WHAT WE WANTED TO FILE, AND WHEN

     17    WE KNEW SOMETHING DEFINITIVELY TO FILE, INSTEAD OF MAKING

     18    MULTIPLE FILINGS, THAT'S WHAT WE DECIDED TO DO YESTERDAY,

     19    JUDGE.

     20                  THE COURT:     ALL RIGHT.   ONE OTHER QUESTION

     21    BEFORE I HEAR FROM MR. HARKER.       MR. SHIPLEY, MR. JESSEE,

     22    ARE THERE ANY OF THE CONDITIONS PROPOSED BY THE GOVERNMENT

     23    THAT YOU WOULD RESIST?

     24                  MR. SHIPLEY:     JUDGE, I'LL GO AHEAD AND SPEAK TO

     25    THAT, AND NOT TO JUMP IN FRONT OF MR. JESSEE, AND -- BUT




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      1    IT KIND OF GOES BACK TO MY, WITHIN MY SUPPLEMENT, JUDGE,

      2    TO THE THIRD OPTION.      JUDGE, WE'RE NOT HERE IN A POSITION

      3    TO REALLY ARGUE WITH ANY TYPE OF CONDITION THAT WOULD BE

      4    SET BY THE COURT.     AS I SAID, JUDGE, AS THE THIRD OPTION

      5    IN THE SUPPLEMENT, IF THE COURT REQUIRED HER TO STAY IN

      6    GREENEVILLE, TENNESSEE WITHIN ROCK-THROWING DISTANCE OF

      7    THE COURT, THAT'S SOMETHING THAT WE WOULD TRY TO MAKE

      8    HAPPEN AND DO IT EXPEDITIOUSLY, JUDGE.

      9                 SO AS FAR AS I'M CONCERNED, AND I'LL DEFER TO

     10    MR. JESSEE TO MAKE A SUPPLEMENT TO WHAT I'M SAYING, BUT I

     11    DON'T THINK WE HAVE ANY OBJECTION TO WHATEVER CONDITIONS

     12    THAT THE COURT WANTS TO PUT ON DR. YOU BECAUSE AS LONG AS

     13    SHE IS COMMUNICATING TO THE UNITED STATES PROBATION

     14    OFFICE, IF SHE HAS TO -- IF SHE IS TRAVELING TO MY OFFICE

     15    OR IF SHE IS TRAVELING TO MR. JESSEE'S OFFICE IN JOHNSON

     16    CITY, THAT'S THE ONLY PLACE THAT SHE'LL BE GOING.          SO,

     17    JUDGE, AS FAR AS I'M CONCERNED WE DON'T HAVE ANY

     18    OBJECTIONS TO ANY TYPE OF RESTRICTIVE OR TO THE UTMOST

     19    RESTRICTIVE CONDITIONS THAT THE COURT WOULD SET.

     20                 THE COURT:    ALL RIGHT.

     21                 ALL RIGHT.    THEN, MR. HARKER, I'LL HEAR FROM

     22    YOU ON THIS AS WELL.      KEEP IN MIND THAT I HAVE READ YOUR

     23    PLEADINGS AND YOUR SUPPLEMENTAL PLEADINGS, AND I GUESS I'D

     24    LIKE FOR YOU TO ADDRESS ONE QUESTION FOR ME AT THE BEGIN-

     25    NING.    I'VE SEEN THE ATTORNEY GENERAL'S MEMO OF APRIL 6,




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      1    THE U.S. ATTORNEY'S, IN WHICH HE INDICATES THAT THE

      2    CONCERN ABOUT COVID-19 IS, IN THE DEPARTMENT'S VIEW, NOW A

      3    SIGNIFICANT FACTOR IN BOND DECISIONS.        I WOULD LIKE FOR

      4    YOU TO TELL ME IN LIGHT OF THAT DIRECTIVE FROM THE

      5    ATTORNEY GENERAL WHETHER YOUR POSITION HAS CHANGED ANY.

      6                 MR. HARKER:    THANK YOU, YOUR HONOR.

      7                 AND I HAVE READ THAT DIRECTIVE, AND THE

      8    GOVERNMENT'S POSITION HAS NOT CHANGED IN THIS PARTICULAR

      9    CASE.    AND IN THAT DIRECTIVE ONE OF THE FACTORS THAT THE

     10    GOVERNMENT IS STILL TO CONSIDER IS FLIGHT RISK, AND THE

     11    GOVERNMENT'S POSITION IS THAT TODAY VERSUS A YEAR AGO IT'S

     12    NOT THE CASE THAT THE RISK OF FLIGHT HAS BEEN MITIGATED,

     13    IT'S ACTUALLY THE CASE THAT THE RISK OF FLIGHT HAS

     14    INCREASED; AND SO I'D LIKE TO ADDRESS A FEW -- I'D LIKE TO

     15    PROVIDE THE COURT WITH A FEW EXPLANATIONS AS TO WHY, BUT

     16    I'D ALSO LIKE TO DIGRESS BRIEFLY TO ADDRESS THE

     17    CORONAVIRUS CONCERN.

     18                 THE COURT:    ALL RIGHT.

     19                 MR. HARKER:    AND IF I MAY, I NOTE -- I NOTE

     20    THAT THE DEFENSE -- WHERE SHOULD THE COURT LOOK TO

     21    DETERMINE WHAT TYPES OF CONCERNS IT HAS ABOUT THE

     22    CORONAVIRUS, IN PARTICULAR AT THE WASHINGTON COUNTY

     23    DETENTION CENTER; AND I'LL NOTE THAT THE DEFENSE MOTION IS

     24    THE FIRST PLACE TO LOOK, AND THEY DON'T ACTUALLY MAKE AN

     25    ARGUMENT THAT THE DEFENDANT IS SUSCEPTIBLE TO THIS ILLNESS




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      1    MORE THAN ANY ORDINARY PERSON, THAT SHE HAS ANY PARTICULAR

      2    MEDICAL CONDITION THAT WOULD CAUSE HER TO BE AT A

      3    HEIGHTENED RISK, SHE IS NOT ELDERLY.        AND AS OF EARLIER

      4    THIS WEEK, I CONFIRMED WITH A REPRESENTATIVE OF THE

      5    WASHINGTON COUNTY DETENTION CENTER, THE REGIONAL DIRECTOR

      6    OF NURSING, THAT THERE ARE AS OF EARLIER THIS WEEK NO

      7    CASES OF THE CORONAVIRUS AT THE WASHINGTON COUNTY

      8    DETENTION CENTER.

      9                 ON TOP OF THAT I CONFIRMED WITH MS. HEATHER

     10    TAYLOR, WHO IS THE REGIONAL DIRECTOR OF NURSING FOR

     11    QUALITY CORRECTIONAL HEALTH CARE, THAT THERE IS IN FACT IN

     12    PLACE THERE A WELL ARTICULATED PLAN AS TO EXACTLY WHAT THE

     13    MEDICAL STAFF THERE WILL DO IN THE EVENT OF A CORONAVIRUS

     14    INFECTION; AND I CAN PROVIDE FOR THE COURT MS. TAYLOR'S

     15    E-MAIL TO ME WITH THE ATTACHMENTS IF THE COURT WOULD LIKE

     16    TO SEE THAT.     THE POINT IS AT THIS MOMENT WASHINGTON

     17    COUNTY IS EXTREMELY WELL PREPARED, PERHAPS BETTER PREPARED

     18    THAN SOME OF THE LOCAL COMMUNITIES INTO WHICH THE DEFEN-

     19    DANT WOULD BE RELEASED TO HANDLE A CORONAVIRUS.

     20                 THE COURT:    YOU'RE SUGGESTING THAT THE RISK OF

     21    CONTRACTING THE VIRUS IS LESS IN THE JAIL THAN IT IS IN

     22    THE COMMUNITY?

     23                 MR. HARKER:    NO, YOUR HONOR, I'M NOT QUALIFIED

     24    TO MAKE THAT SORT OF STATEMENT.       WHAT I AM SAYING RIGHT

     25    NOW IS THE DEFENSE HAS NOT ARGUED THAT THE DEFENDANT IS




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      1    LIKELY TO BE INFECTED.      THERE'S NO EVIDENCE THAT SHE'S

      2    LIKELY TO BE INFECTED IN THE JAIL, AND --

      3                 THE COURT:    BUT DOESN'T COMMON SENSE TELL US

      4    THAT CONFINING A PERSON UNDER THOSE CIRCUMSTANCES WITH

      5    HUNDREDS OF OTHER PEOPLE WHO HAVE CERTAINLY THE POTENTIAL

      6    OF SPREADING THE DISEASE IS GREATER THAN WOULD BE IN THE

      7    COMMUNITY?

      8                 MR. HARKER:    WELL, YOUR HONOR, I COULD READ TO

      9    YOU WHAT -- I RAISED THOSE EXACT CONCERNS WITH MS. TAYLOR,

     10    AND I CAN READ TO THE COURT WHAT SHE SAID IN PART IN

     11    RESPONSE; BUT TO SUMMARIZE THOSE POINTS, THEY SCREEN EVERY

     12    VISITOR, THEY TAKE TEMPERATURES.        IF A PERSON WERE TO TEST

     13    POSITIVE, THEY PLACE THAT PERSON IN ISOLATION FOR AS LONG

     14    AS NECESSARY, IN EFFECT IN QUARANTINE.        I WOULD SUBMIT

     15    THAT IN SOME CASES THE PRISON MIGHT ACTUALLY BE BETTER AT

     16    QUARANTINING A PERSON THAN AT ANOTHER PLACE, BUT I'M NOT

     17    SUGGESTING THAT THE RISK OF INFECTION IS GREATER OR LESS;

     18    AND I UNDERSTAND THE ANECDOTAL SENSE THAT IT IS MORE

     19    LIKELY THAT YOU MIGHT BE INFECTED, BUT THE QUESTION BEFORE

     20    THE COURT IS IS THE DEFENDANT A RISK OF NONAPPEARANCE, NOT

     21    WHETHER OR NOT SHE'S LIKELY TO BE INFECTED; AND I ADMIT

     22    THAT IF THE FACTORS WERE TO CHANGE, IF THERE WERE AN

     23    OUTBREAK OF THIS ILLNESS WITHIN WASHINGTON COUNTY, THEN

     24    PERHAPS THE ISSUE WOULD HAVE TO BE REVISITED.

     25                 THE COURT:    BUT MAYBE YOU AND I ARE READING THE




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      1    ATTORNEY GENERAL'S MEMO DIFFERENTLY.        IT SEEMS TO ME THAT

      2    WHAT HE IS DIRECTING THAT YOU CONSIDER IS THE RISK OF

      3    CONTRACTING THE DISEASE, NOT THE RISK OF DYING FROM IT.

      4                 MR. HARKER:    YES, SIR.

      5                 THE COURT:    AND THE RISK DOESN'T NECESSARILY

      6    CORRELATE TO THE MINUTE-BY-MINUTE CONDITIONS WITHIN THE

      7    JAIL.    IN OTHER WORDS, THE RISK HAS NOTHING TO DO AT THIS

      8    POINT WITH WHETHER THERE HAVE OR HAVE NOT BEEN CASES.           IF

      9    THERE HAVE BEEN CASES, I WOULD ASSUME THERE IS A

     10    HEIGHTENED RISK.     NEVERTHELESS, THE RISK OF AN INMATE

     11    CONTRACTING THE VIRUS IS, IS PRESENT IN A JAIL, CERTAINLY,

     12    WOULDN'T YOU AGREE WITH THAT?

     13                 MR. HARKER:    YES, YOUR HONOR, JUST LIKE IT'S

     14    PRESENT IN THE POPULATION; AND IT MAY IN FACT BE HIGHER,

     15    AND WE ARE CONSIDERING THAT.

     16                 THE COURT:    ALL RIGHT.    OKAY.

     17                 MR. HARKER:    AND I WOULD ADD, YOUR HONOR, THAT

     18    ON THE OTHER SIDE OF THAT, LET'S ASSUME FOR THE SAKE OF

     19    ARGUMENT THAT OTHER THAN THE CORONAVIRUS ALL OTHER THINGS

     20    ARE EQUAL OR AT LEAST UNCHANGED FROM WHERE THEY WERE A

     21    YEAR AGO, I THINK THE GOVERNMENT WOULD ADD TO THIS POINT,

     22    THERE ARE SEVERAL FACTORS THAT ARE ALSO WEIGHING IN FAVOR

     23    OF A HIGHER RISK OF FLIGHT.       ONE IS THAT THE REPRE-

     24    SENTATIONS IN THE DEFENSE FILING, EVEN THOUGH THE DEFENSE

     25    COUNSEL THEMSELVES UNDERSTOOD THAT THOSE REPRESENTATIONS




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      1    WERE TRUE AT THE TIME THEY MADE THEM, THE DEFENDANT AND

      2    THE DEFENDANT'S HUSBAND KNEW THAT THEY WERE NOT TRUE.           THE

      3    DEFENDANT KNEW THAT HER PROPERTY WAS LEASED THROUGH

      4    NOVEMBER 2020; AND THE GOVERNMENT ALSO HAS A COPY OF THAT

      5    LEASE AGREEMENT HERE IF THE COURT WOULD LIKE TO ACQUIRE A

      6    COPY OF THAT.     IN ADDITION, HER HUSBAND KNEW THAT HE WAS

      7    UNLIKELY TO BE ABLE TO TRAVEL FROM EAST TENNESSEE TO HIS

      8    JOB IN SOUTH CAROLINA WHETHER OR NOT A STAY-AT-HOME ORDER

      9    WAS IN PLACE.     HE AND SHE BOTH KNEW THAT THOSE THINGS WERE

     10    FALSE AT THE TIME THAT THEIR REPRESENTATIVES, COUNSEL FOR

     11    THE DEFENDANT, FILED THE MOTION.        IN OTHER WORDS, THE

     12    DEFENDANT WAS WILLING TO CAUSE FALSE STATEMENTS TO BE MADE

     13    TO THIS COURT TO INDUCE THIS COURT TO RELEASE THE

     14    DEFENDANT.

     15                  AND THEN FURTHER I WOULD POINT OUT, I'VE OF

     16    COURSE READ THE COURT'S ORDER THAT TALKS ABOUT THE RISK OF

     17    FLIGHT TO CHINA, AND LET'S CONCEDE, LET THE GOVERNMENT

     18    CONCEDE FOR THE SAKE OF ARGUMENT THAT THE RISK OF FLIGHT

     19    TO CHINA TODAY IS LOWER THAN IT WAS SAY FOUR MONTHS AGO,

     20    IT WOULD BE HARDER TO GET DIRECTLY TO CHINA, BUT THE

     21    QUESTION UNDER 3162 IS WHETHER OR NOT THERE'S A RISK OF

     22    NONAPPEARANCE.     THE DEFENDANT DOESN'T NEED TO BE IN CHINA

     23    IN ORDER TO BE A FUGITIVE, SHE COULD HIDE IN THE WOODS OF

     24    NORTH CAROLINA, THAT WOULD BE SUFFICIENT, AT LEAST FOR THE

     25    TIME BEING.




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      1                 ALSO IN PREPARATION FOR THIS HEARING, YOUR

      2    HONOR, I USED PUBLIC WEBSITES TO DETERMINE WHETHER OR NOT

      3    A FLIGHT COULD BE OBTAINED FROM QUEBEC AND MEXICO CITY, IN

      4    FACT, AN FBI AGENT DID THIS ON MY BEHALF, AND FLIGHTS ARE

      5    AVAILABLE IN THE NEAR FUTURE FROM MEXICO CITY AND QUEBEC

      6    TO CHINA.    NOW, I DON'T KNOW WHAT HAPPENS WHEN THE PEOPLE

      7    LAND ON A TARMAC IN BEIJING, I DON'T KNOW WHETHER OR NOT

      8    THE CHINESE AUTHORITIES WOULD LET ANY PARTICULAR PASSENGER

      9    IN, BUT I SUSPECT THEY WOULD LET THIS PARTICULAR PASSENGER

     10    IN.   SO THE GOVERNMENT'S POSITION IS THE DEFENDANT IS AN

     11    EXTRAORDINARY FLIGHT RISK, EVEN IF THAT RISK IS SOMEWHAT

     12    MITIGATED BY THE INCREASED DIFFICULTY OF FINDING A PLANE

     13    TICKET TO CHINA, IT DOESN'T MEAN THAT SHE'S STILL NOT A

     14    HIGH FLIGHT RISK, AND WE THINK THAT THAT RISK OFFSETS THE

     15    RISK, THE INCREASED RISK OF INFECTION FROM A DETENTION

     16    FACILITY.

     17                 THE COURT:    SO YOU'RE SUGGESTING THAT SHE WOULD

     18    TRAVEL ILLEGALLY TO MEXICO OR TO CANADA AND OBTAIN A PLANE

     19    TICKET HOW WITHOUT A PASSPORT?

     20                 MR. HARKER:    WELL, YOUR HONOR, I WOULD POINT

     21    OUT AGAIN THAT SHE NEED NOT GO TO CANADA OR MEXICO, SHE

     22    COULD ONLY GO TO NORTH CAROLINA AND HIDE IN THE WOODS.

     23                 THE COURT:    WELL, BUT YOU CAN SPECULATE THAT

     24    ABOUT ANY DEFENDANT.

     25                 MR. HARKER:    RIGHT.   WE'VE ESTABLISHED ALREADY,




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      1    YOUR HONOR, THE MOTIVES WHY THE DEFENDANT WOULD FLEE, AND

      2    THOSE MOTIVES ARE STILL APPLICABLE.        IF ANYTHING, THE

      3    DEFENDANT IS NOW AWARE OF THE STRENGTH OF THE GOVERNMENT'S

      4    EVIDENCE AGAINST HER.      IT'S BEEN A FULL YEAR, SHE HAS HAD

      5    AMPLE TIME TO REVIEW THE DISCOVERY, AND SHE UNDERSTANDS

      6    THAT CONVICTION IS -- THERE'S A HIGH LIKELIHOOD OF

      7    CONVICTION, THE EVIDENCE IS VERY STRONG; SO WHETHER HER

      8    DIFFICULTY OF TRAVELING TO CANADA OR MEXICO ARE POINTS THE

      9    GOVERNMENT CONCEDES DUE TO SOME SMALL DEGREE MITIGATE THE

     10    RISK, BUT THIS IS NOT JUST ANY DEFENDANT, THIS IS A

     11    DEFENDANT WITH SUBSTANTIAL TIES TO CHINA AND A SUBSTANTIAL

     12    MOTIVE TO FLEE; AND I WON'T REPEAT ALL THOSE RECORDS, I

     13    KNOW YOUR HONOR HAS READ THOSE RECORDS EARLIER.

     14                 THE COURT:    LET ME ASK YOU THIS, CAN'T THE RISK

     15    OF FLIGHT, WHATEVER IT IS, BE MITIGATED HERE BY THE COURT

     16    REQUIRING HOME CONFINEMENT WITH ELECTRONIC MONITORING AND

     17    OTHER KINDS OF SAFEGUARDS THAT REQUIRE MULTIPLE DAILY

     18    CONTACTS WITH THE PROBATION OFFICE?

     19                 MR. HARKER:    YOUR HONOR, I THINK IT CAN BE

     20    MITIGATED, BUT NOT TO THE POINT WHERE WE -- NOT ANY

     21    REASONABLE SET OF CONDITIONS THAT WOULD ASSURE HER

     22    APPEARANCE AT TRIAL; AND I WOULD ADD THAT PRECISELY AS A

     23    RESULT OF THE CORONAVIRUS THE ABILITY OF LAW ENFORCEMENT

     24    TO EFFECTUATE THE TERMS OF THE COURT ORDER ABOUT CONDI-

     25    TIONS OF RELEASE IS ITSELF UNDERMINED.        MY UNDERSTANDING




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      1    IS THAT MONITORING GPS BY THE PROBATION OFFICE WERE, IF WE

      2    WERE EVEN TO ATTEMPT TO ASSIGN AN FBI AGENT OR SERIES OF

      3    AGENTS TO DO THIS, IT IS SEVERELY UNDERMINED.          IN FACT,

      4    YOUR HONOR, I HAD EXTREME DIFFICULTY DELIVERING A TARGET

      5    LETTER JUST LAST WEEK, AND WE HAD TO END UP USING

      6    CERTIFIED MAIL TO DELIVER A TARGET LETTER TO A DEFENDANT

      7    IN A MAJOR CASE.

      8                 SO, AGAIN, YOUR HONOR, THE GOVERNMENT'S

      9    POSITION IS THAT, YES, THERE IS AN INCREASED RISK OF

     10    INFECTION IN THE JAIL.      I DON'T KNOW IF THAT INCREASED

     11    RISK IS, WHETHER IT'S SIZEABLE OR WHETHER IT'S NEGLIGIBLE,

     12    BUT I THINK IT'S FAIR TO CONCEDE THE COURT'S POINT THAT IT

     13    IS A HIGHER RISK THAN LIVING ON A FARM BY YOURSELF; BUT,

     14    ON THE OTHER HAND, THE DEFENDANT'S RISK OF FLIGHT IS AT

     15    LEAST AS GREAT AS IT WAS LAST YEAR WHEN THE GOVERNMENT WON

     16    THIS ARGUMENT WITH THE MAGISTRATE AND ON APPEAL AT THE

     17    DISTRICT COURT LEVEL; AND FROM THE GOVERNMENT'S VIEW IT'S

     18    ACTUALLY STRONGER NOW IN LIGHT OF THE PENDING TRIAL AND

     19    THE STRENGTH OF THE GOVERNMENT'S EVIDENCE, AS WELL AS THE

     20    DIFFICULTY THE EXECUTIVE BRANCH WOULD HAVE AND THE

     21    PROBATION OFFICE WOULD HAVE IN ENFORCING THE COURT'S

     22    CONDITIONS OF RELEASE.      AND I HAVE REVIEWED THE CONDI-

     23    TIONS, AND I SEE THAT THEY LARGELY TRACK THE GOVERNMENT'S

     24    REQUEST, BUT I DON'T THINK THAT THEY SUFFICIENTLY MITIGATE

     25    THE RISK TO ASSURE THE DEFENDANT'S APPEARANCE AT TRIAL.




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      1                 THE COURT:     ALL RIGHT, MR. HARKER.

      2                 ANYTHING ELSE, MR. SHIPLEY?

      3                 MR. SHIPLEY:     YOUR HONOR, IF, IF IT EVEN NEEDS

      4    TO BE ADDRESSED, JUDGE, I WOULD TAKE EXCEPTION WITH THE

      5    GOVERNMENT'S POSITION ON HOW THE -- NOW THE DEFENDANT IN

      6    THIS CASE, DR. YOU, AND BOTH HER AND HER HUSBAND HAVE MADE

      7    FALSE STATEMENTS TO INDUCE ANYTHING, JUDGE.         AGAIN, AGAIN,

      8    JUDGE, THERE WAS NEVER ANY INTENTIONAL MISREPRESENTATION

      9    TO ANYONE BY ANYONE.      I THINK THE CHARACTERIZATION THERE

     10    IS A LITTLE SHORTSIGHTED.       JUST ASSUMING, ASSUMING THAT

     11    THAT WOULD BE THE CASE, JUDGE, BUT THAT'S NOT THE CASE.

     12    THAT'S NOT THE CASE THAT THEY HAVE, HER HUSBAND AND

     13    DR. YOU HAVE CONSPIRED TO MAKE SOME WRONG STATEMENTS THAT

     14    WOULD NOW CAUSE HER FLIGHT RISK TO INCREASE BECAUSE OF

     15    THAT, JUDGE.     THERE IS NO --

     16                 THE COURT:     WELL, AT LEAST TO THIS EXTENT,

     17    MR. SHIPLEY, I DISAGREE WITH YOU A BIT BECAUSE IF HER

     18    CREDIBILITY IS SUSPECT, FURTHER SUSPECT AT THIS POINT,

     19    THEN IT DOES INCREASE THE RISK OF FLIGHT IN MY VIEW.            AND

     20    I DON'T -- YOU KNOW, I READ THE LANGUAGE FROM YOUR PLEAD-

     21    ING, THAT LANGUAGE, THAT WAS NOT CORRECT.         THE JOHNSON

     22    CITY PROPERTY, THE WASHINGTON COUNTY PROPERTY WAS NOT

     23    AVAILABLE FOR HER TO LIVE IN BECAUSE THERE IS A LEASE, AND

     24    IT'S OBVIOUSLY A WRITTEN LEASE.       THE GOVERNMENT HAS A COPY

     25    OF THAT, YOU KNOW, WRITTEN LEASE, THE GOVERNMENT HAS A




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      1    COPY OF THAT LEASE, AND THERE WAS NEVER ANY EFFORT BY

      2    ANYBODY TO CORRECT THAT, AND SO THAT'S THE REAL ISSUE.

      3                 I MEAN, I THINK ALL OF YOU KNOW HOW IMPORTANT

      4    CANDOR WITH THE COURT IS, TO ME, AT LEAST, AND THERE'S

      5    ONLY ONE POSSIBLE WAY IN MY OPINION TO READ THOSE

      6    SENTENCES THAT I READ FROM YOUR PLEADING; BUT, NEVERTHE-

      7    LESS, THE BIGGER ISSUE IS DOES THAT CAUSE HER CREDIBILITY

      8    OR THE TRUSTWORTHINESS OF HER PROMISES TO THE COURT TO BE

      9    MORE SUSPECT THAN THEY WERE BEFORE, AND THAT'S, THAT'S

     10    WHAT TROUBLES ME.     I MEAN, I'M NOT SURE WHY IT WAS EVEN

     11    PROPOSED THAT SHE LIVE IN THE WASHINGTON COUNTY PROPERTY

     12    IN THE FIRST PLACE SINCE IT WAS NOT AVAILABLE.

     13                 MR. JESSEE:    YOUR HONOR, MAY I SPEAK JUST A

     14    MINUTE?    I CAN'T SEE YOU, SO I CAN'T -- THIS IS TOM

     15    JESSEE.    I TALKED TO THE REALTORS THIS TIME AND THE TIME

     16    BEFORE.    THERE IS A POSSIBILITY, WHICH WE WOULD HAVE

     17    SOLIDIFIED ONE WAY OR THE OTHER, AS TO WHETHER THE TENANTS

     18    WERE WILLING TO VACATE UNDER THE CIRCUMSTANCES.          YOU'RE

     19    CORRECT, WE COULD NOT JUST GO KICK THEM OUT, BUT THERE WAS

     20    AND IS, DEPENDING ON WHAT WE DEVELOPED AS THE PLAN.          SO

     21    I'LL TAKE THE BLAME FOR THE WAY THE WORDING WAS PUT IN

     22    THERE, BUT THERE IS A POSSIBILITY BECAUSE I KNEW THAT

     23    THERE WAS APARTMENTS AVAILABLE WE WERE GOING TO ASK THOSE

     24    PEOPLE TO MOVE TO UNDER THE CIRCUMSTANCES, BUT WE WERE

     25    TRYING TO FIGURE OUT, THIS WHOLE THING MR. HARKER SAID




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      1    ABOUT DR. YOU'S HUSBAND NOT BEING WILLING TO COMMUTE,

      2    WE'VE BEEN TRYING TO FIGURE OUT SINCE DAY ONE WHEN THIS

      3    LOCKDOWN STARTED WHETHER HE'D GET LOCKED DOWN OR NOT.           WE

      4    TALKED ABOUT WITH THE PROBATION OFFICER EVERYTHING DR. YOU

      5    OWNS AS FAR AS CLOTHING AND STUFF IS IN THE ATLANTA AREA,

      6    AND SHE WOULD HAVE TO GO THERE TO GET HER BELONGINGS.

      7    IT'S MY FAULT IT WASN'T CONCRETE, AND I'LL TAKE THE BLAME

      8    FOR IT, BUT IT CERTAINLY WASN'T DONE OTHER THAN AS AN

      9    ALTERNATIVE.     I ASSURE YOU THAT ON MONDAY WHEN I WALKED

     10    INTO JUDGE WYRICK'S COURT, I WOULD HAVE GIVEN HER THE PLAN

     11    AND DIDN'T EVEN ANTICIPATE GETTING TALKED TO BY THE, BY

     12    THE PROBATION OFFICE BEFORE THEN.        SO I WANT TO APOLOGIZE

     13    TO THE COURT, BUT WHEREVER YOUR HONOR -- SHOULD YOU DECIDE

     14    TO LET HER OUT, SHE'LL LIVE WHEREVER YOU TELL HER SHE HAS

     15    TO LIVE.

     16                 THE COURT:    MR. JESSEE, MR. SHIPLEY, WHAT KIND

     17    OF LIQUID ASSETS DOES DR. YOU HAVE ACCESS TO?

     18                 MR. JESSEE:    YOUR HONOR, I DIDN'T -- THE SOUND

     19    BLURB, I COULDN'T HEAR YOUR QUESTION.

     20                 THE COURT:    WHAT KIND OF LIQUID ASSETS DOES

     21    DR. YOU HAVE ACCESS TO?

     22                 MR. JESSEE:    THEY HAVE, THEY HAVE THEIR BANK

     23    ACCOUNTS, WHICH HAVE BEEN SUBSTANTIALLY REDUCED THROUGH

     24    THE COST OF THIS.     DR. YOU'S HUSBAND IS WORKING EVERYDAY,

     25    SO THEY HAVE THAT JOINT BANK ACCOUNT.        I WOULD HAVE TO GET




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      1    AN UPDATED LIST TO THE COURT AS TO WHAT'S AVAILABLE AS OF

      2    TO THAT.

      3                  THE COURT:     WOULD YOU SAY THEY ARE SUBSTANTIAL?

      4                  MR. JESSEE:     I WOULD SAY THAT -- WELL, I DON'T

      5    HAVE ANY WAY OF CONFERRING WITH DR. YOU.         I'M JUST SENDING

      6    A TEXT RIGHT NOW TO HER HUSBAND AS TO HOW MUCH MONEY HE

      7    HAS IN THE BANK; AND I KNOW THAT BECAUSE OF THE COST OF

      8    THIS PREPARATION THEY HAVE SPENT THE MAJORITY OF WHAT THEY

      9    HAD, OR WHAT I WOULD CALL LIQUID ASSETS, BUT LET ME SEE IF

     10    HE ANSWERS IN A SECOND.       IF -- HE USUALLY ANSWERS

     11    RELATIVELY QUICKLY, SO LET ME -- YOUR HONOR, IF I COULD,

     12    IF I COULD MUTE MY VIDEO HERE, I CAN CALL HIM AND THEN

     13    TURN IT BACK ON IF YOU WOULD PREFER.

     14                  THE COURT:     ALL RIGHT.    WHY DON'T YOU DO THAT.

     15                  MR. JESSEE:     ALL RIGHT.

     16          (MR. JESSEE MUTES HIS END OF THE CONFERENCE)

     17                  THE COURT:     WHILE MR. JESSEE IS DOING THAT,

     18    LET'S GO AHEAD AND ADDRESS THE ISSUE OF RESCHEDULING THIS

     19    CASE FOR TRIAL.

     20                  MR. SHIPLEY, JUDGE WYRICK PUT DOWN A RATHER

     21    DETAILED ORDER ABOUT THE REQUEST FOR VIDEO CONFERENCING

     22    AND, IN FACT, AGREED TO PERMIT VIDEO DEPOSITIONS TO BE

     23    TAKEN.     WHERE ARE YOU WITH ARRANGEMENTS TO DO THAT?

     24                  MR. SHIPLEY:     JUDGE, I WAS JUST PROVIDED AN

     25    UPDATE THIS MORNING ON THAT, JUDGE.         WE HAVE, WE HAVE




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      1    TALKED TO TWO COMPANIES THAT HAVE THE CAPABILITY TO SET UP

      2    THESE DEPOSITIONS IN CHINA.       THE LAWYER IN PARTICULAR

      3    WE'VE BEEN TALKING TO THROUGH DR. YOU'S HUSBAND HAS AN

      4    INTERNATIONAL DEPARTMENT IN HIS LAW FIRM WHICH IS CAPABLE

      5    OF ASSISTING THESE DEPOSITIONS IN ENGLISH WHO THEY HAVE

      6    ALSO REACHED OUT NOT ONLY TO THEIR FIRM BUT ALSO A LARGER

      7    FIRM.    THE TWO WITNESSES IN WEIHAI ARE NOW ALLOWED TO

      8    TRAVEL TO BEIJING BUT MUST QUARANTINE FOR 14 DAYS WHEN

      9    THEY GET THERE AND WHEN THEY RETURN.

     10                  RIGHT NOW, JUDGE, WE ARE CHECKING, WE ARE

     11    LOOKING INTO A CITY OUTSIDE OF BEIJING CLOSER TO WUHAN

     12    WHERE THE TRAVEL, WHERE THE TRAVEL MIGHT NOT BE AS

     13    RESTRICTED.    WE'VE ALSO REACHED OUT, JUDGE --

     14                  THE COURT:     AS I UNDERSTAND IT FROM THE NEWS,

     15    THE CHINESE GOVERNMENT LIFTED SOME TRAVEL RESTRICTIONS

     16    FROM WUHAN TO OTHER AREAS OF THE COUNTRY YESTERDAY.

     17                  MR. SHIPLEY:     SO THAT'S WHAT WE'RE TRYING TO

     18    LOOK AT, JUDGE, AS FAR AS SOME PLACES THAT ARE CLOSER.

     19    WE'VE ALSO REACHED OUT TO A HONG KONG LAW FIRM WITH

     20    OFFICES IN BEIJING.

     21                  WE'RE HOPING, JUDGE, TO BE ABLE TO PROVIDE, IF

     22    REQUIRED, JUDGE, AND I HAVE HERE IN MY NOTES THAT,

     23    OBVIOUSLY WHAT THE COURT JUST SAID, THEY HAVE JUST AS OF

     24    YESTERDAY, BASED ON MY NOTES HERE LIKE YOU SAID, JUDGE,

     25    THEY HAVE LIFTED SOME OF THE RESTRICTIONS, WHAT WE'RE




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      1    HOPING TO, WE'RE HOPING, JUDGE, WE'RE HOPING TO HAVE SOME

      2    MORE INFORMATION BY THE END OF THE WEEK SINCE EVERYTHING

      3    IS CHANGING.     I --

      4                 THE COURT:     GIVE ME AN IDEA OF HOW LONG YOU

      5    REALISTICALLY THINK IT WILL TAKE YOU TO GET THESE

      6    DEPOSITIONS DONE.

      7                 MR. SHIPLEY:     IF EVERYTHING GOES WELL THIS

      8    WEEK, JUDGE, FROM WHAT I UNDERSTAND, AND THE TRAVEL

      9    RESTRICTIONS BEING LIFTED LIKE THEY ARE NOW, OR NOT LIFTED

     10    BUT BEING MODIFIED, I GUESS I SHOULD SAY, I DON'T ENVISION

     11    IT TAKING MONTHS, JUDGE, BUT I DON'T ENVISION US BEING

     12    ABLE TO DO IT NEXT WEEK EITHER; AND I KNOW THAT THAT'S,

     13    THAT'S NOT A DEFINITIVE ANSWER AND WHAT THE COURT WANTED

     14    TO HEAR, BUT I THINK THAT JUST WITH EVERYTHING CHANGING,

     15    AND WE'RE HOPE -- LIKE I SAID, WE'RE TRYING TO -- WE

     16    LOOKED AT THE BEIJING POSSIBILITY, BUT NOW WE'RE LOOKING

     17    BECAUSE OF THE WUHAN TRAVEL RESTRICTIONS BEING MODIFIED,

     18    WE'RE TRYING TO GET SOMEWHERE DIFFERENT.         WE'VE CONTACTED

     19    MULTIPLE ATTORNEYS, JUDGE, IN CHINA AND IN JAPAN, JUDGE,

     20    TO TRY TO SEE IF THERE'S SOMEWHERE ELSE WE CAN DO THIS

     21    THAT'S MORE MUTUALLY CONVENIENT, THAT WAY WE CAN EXPEDITE

     22    THIS.

     23                 THE COURT:     HAVE YOU BEEN ABLE TO RESOLVE THE

     24    ISSUE AT THIS POINT OF WHETHER THE CHINESE GOVERNMENT WILL

     25    EVEN ALLOW THESE WITNESSES TO TESTIFY BY DEPOSITION, OR IF




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      1    SO UNDER WHAT CIRCUMSTANCES?

      2                 MR. SHIPLEY:     JUDGE, I WOULD PROBABLY, IF THE

      3    COURT WOULD, I DON'T MEAN TO PUT MR. JESSEE ON THE SPOT

      4    THERE, BUT AS FAR AS THE LOGISTICAL NATURE OF THE CHINESE

      5    GOVERNMENT, I WOULD LIKE TO ASK MR. JESSEE IF HE WOULDN'T

      6    MIND SPEAKING TO THAT, JUDGE, WITH THE RESTRICTION WITH

      7    THE CHINESE GOVERNMENT ISSUE.

      8                 THE COURT:     ALL RIGHT.   MR. JESSEE, ARE YOU

      9    BACK ON?

     10                 MR. JESSEE:     I'M BACK ON, YOUR HONOR.

     11                 DR. YOU'S HUSBAND SAYS THEY HAVE $90,000 IN

     12    BANK ACCOUNTS.     THERE IS SOMEWHERE, HE DOESN'T KNOW BASED

     13    ON THE DROPS OF THE STOCK MARKET, SOMEWHERE COMBINED

     14    BETWEEN THE TWO OF THEM 400,000 PLUS OR MINUS IN

     15    RETIREMENT ACCOUNTS THROUGH THE COMPANIES THEY'VE WORKED

     16    FOR, BUT ACTUAL ACCESS TO CASH HE HAS $90,000.          THE HOUSE

     17    THAT THEY OWN IN THE ATLANTA AREA, WHICH I THINK IS

     18    SMYRNA, IS PAID FOR, HOWEVER.

     19                 AND AS FAR AS YOUR QUESTION ABOUT I -- YOU WORK

     20    THROUGH AN INTERPRETER WHEN I'VE BEEN TALKING TO CHINA, WE

     21    HAVEN'T GOT FINAL CONFIRMATION OF ANYTHING, BUT THE

     22    INTERNATIONAL LAW FIRM THERE IS, IS PROCESSING GETTING

     23    PERMISSION FROM THE GOVERNMENT TO ALLOW US TO TAKE THE

     24    DEPOSITIONS IN BEIJING IN A LAW OFFICE THAT'S SUITABLE TO

     25    YOUR HONOR'S, THE EARLIER ORDER OF THE COURT; AND I SPOKE




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      1    WITH THEM THE END OF LAST WEEK, AND WHERE THEY WERE, THE

      2    TWO WITNESSES -- THERE'S ONE WITNESS IN BEIJING, TWO IN

      3    WEIHAI, THEY ARE NOW ALLOWED TO TRAVEL FROM WEIHAI TO

      4    BEIJING, WHICH JUST OCCURRED RECENTLY.        THEY HAVE A 14 DAY

      5    QUARANTINE GETTING THERE AND 14 DAYS WHEN THEY LEAVE, AND

      6    I KNOW WE'RE NOT WORRIED ABOUT WHEN THEY LEAVE.          THEY

      7    SUGGESTED THAT THERE IS A SMALLER CITY WHICH DOESN'T HAVE

      8    QUITE THE LIMITATIONS ON TRAVEL THAT BEIJING HAS THAT THEY

      9    WERE CHECKING ON.     I'VE TALKED TO TWO INTERNATIONAL

     10    COMPANIES THAT DO VIDEO CONFERENCING AND DEPOSITION WORK,

     11    AND THEY'RE WANTING A LITTLE MORE INFORMATION AS TO WHEN

     12    WE WOULD TAKE THESE.      SO THE BOTTOM LINE IS I SHOULD KNOW

     13    BY THE END OF THIS WEEK THAT THERE EITHER IS ANOTHER

     14    ACCEPTABLE TOWN FOR THE WITNESSES TO TRAVEL TO THAT HAS AN

     15    AMERICAN-STYLE LAW OFFICE THAT WE CAN TAKE THEM IN;

     16    OTHERWISE, AS I SAID, WHEN THE WITNESSES GET TO BEIJING,

     17    THEY'RE QUARANTINED FOR 14 DAYS, AND THE LAW FIRM HAS MADE

     18    THE REQUEST, BUT EVERY WITNESS AND THE ATTORNEYS THAT

     19    WE'RE TALKING TO HAVE PRETTY MUCH SAID THEY'RE NOT

     20    CONCERNED ABOUT THE CHINESE GOVERNMENT NOT APPROVING THESE

     21    DEPOSITIONS.     I HAVE NO -- NOTHING TO GIVE ME ANY COMFORT

     22    ONE WAY OR THE OTHER BECAUSE I CAN'T TALK TO ANYBODY

     23    EXCEPT THROUGH THE INTERPRETER; BUT I, I WOULD SUGGEST

     24    THAT WE GET THROUGH TO NEXT WEEK SINCE THEY'VE ALLOWED

     25    TRAVEL NOW, AND I'LL FILE A REPORT WITH THE COURT WITH THE




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      1    EXACT PLAN ASSUMING NOW THAT THERE'S TRAVEL WE HAVE A

      2    PLAN.

      3                 THE COURT:    ALL RIGHT.    YOU KNOW, ALL OF THAT

      4    SOUNDS VERY MUCH LIKE THE REPORT THAT YOU GAVE TO JUDGE

      5    WYRICK EARLIER.     THERE ARE POSSIBILITIES, YOU'VE TALKED TO

      6    PEOPLE.    WE NEED TO START PINNING THIS DOWN IN TERMS OF

      7    ALL THESE DETAILS SO THAT WE DETERMINE WHETHER THESE

      8    DEPOSITIONS CAN OR CANNOT GO FORWARD, AND WE NEED TO DO

      9    THAT RELATIVELY QUICKLY.      BEYOND THAT, I'LL LEAVE IT IN

     10    YOUR HANDS TO, TO DO THAT.       I WILL -- I DO WANT YOU TO

     11    FILE A STATUS REPORT THOUGH WITH THE COURT WITHIN A WEEK

     12    TO GIVE ME SPECIFICS ON WHERE YOU ARE WITH THESE

     13    POSSIBILITIES.

     14                 I MEAN, NUMBER ONE, YOU NEED TO DETERMINE THAT

     15    THERE'S NO IMPEDIMENT THAT THE CHINESE GOVERNMENT WILL

     16    RAISE TO THE TAKING OF DEPOSITIONS; NUMBER TWO, THAT THE

     17    WITNESSES CAN TRAVEL AND WHEN YOU ANTICIPATE DOING THE

     18    DEPOSITION; AND, THIRD, I GUESS, HOW LONG YOU EXPECT THIS

     19    PROCESS TO TAKE BEFORE WE CAN HAVE THIS TESTIMONY

     20    CAPTURED, SO A WEEK FROM TODAY --

     21                 MR. JESSEE:    YOUR HONOR --

     22                 THE COURT:    I'M SORRY, GO AHEAD.

     23                 MR. JESSEE:    FOR YOUR PLANNING RIGHT NOW, EACH

     24    ONE OF THE WITNESSES WHEN I TALKED TO THEM ON FRIDAY, THE

     25    WITNESSES ARE NOT THE IMPEDIMENT, THEY ARE, THEY ARE




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      1    PREPARED TO APPEAR; AND OTHER THAN ONCE THEY OPENED UP THE

      2    TRAVEL, WHICH THEY DID LAST WEEK, NONE OF THEM HAVE GIVEN

      3    ME ANY REAL CONCERN.      IT'S NAILING DOWN THE GOVERNMENT'S

      4    PERMISSION AND THE LAW FIRM'S SET-UP, SO I'LL HAVE A

      5    REPORT BY A WEEK FROM TODAY.

      6                 THE COURT:    ALL RIGHT.

      7                 MR. HARKER:    YOUR HONOR, MAY I COMMENT ON THIS?

      8                 THE COURT:    YOU MAY, SURE.

      9                 MR. HARKER:    I'M NOT AN EXPERT ON INTERNATIONAL

     10    LAW, BUT MY UNDERSTANDING IS THAT IN ORDER FOR THE DEFENSE

     11    TO CONDUCT THESE DEPOSITIONS ON CHINESE SOIL THEY ARE

     12    REQUIRED TO COMPLY WITH THE STATE DEPARTMENT'S LETTERS OF

     13    ROGATORY PROCESS, WHICH AS FAR AS I AM ABLE TO DISCERN

     14    INVOLVES FOUR STEPS.      FIRST, THE DEFENSE MUST DRAFT

     15    LETTERS OF ROGATORY AND SUBMIT THEM TO THE COURT; SECOND,

     16    THE COURT MUST REVIEW THOSE LETTERS OF ROGATORY, DETERMINE

     17    WHETHER THEY SATISFY THE STATE DEPARTMENT'S REQUIREMENTS

     18    AND THEN SUBMIT THOSE LETTERS OF ROGATORY TO THE STATE

     19    DEPARTMENT FOR TRANSMISSION TO THE CHINESE AUTHORITIES

     20    THROUGH THE APPROPRIATE DIPLOMATIC CHANNELS ALONG WITH A

     21    LETTER OF TRANSLATION; AND STEP THREE, THE CHINESE

     22    GOVERNMENT WOULD HAVE TO REVIEW AND THEN NOTIFY THE STATE

     23    DEPARTMENT AS TO WHETHER OR NOT THEY'RE GOING TO APPROVE

     24    OF THE PROCESS; AND THEN AT STEP FOUR, IF APPROVED BY THE

     25    CHINESE GOVERNMENT, THE STATE DEPARTMENT WOULD NOTIFY THE




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      1    COURT THAT THE DEPOSITIONS COULD PROCEED ACCORDINGLY, AT

      2    WHICH POINT ALL OF JUDGE WYRICK'S OTHER CONDITIONS WOULD

      3    STILL APPLY.     SO I DON'T HAVE ANY SENSE AS TO HOW LONG

      4    THAT PROCESS WOULD TAKE.

      5                 I DO HAVE ONE OTHER CONCERN, WHICH MY

      6    RECOLLECTION OF JUDGE WYRICK'S ORDER, IT WAS A LITTLE

      7    AMBIGUOUS, BUT IT MAY HAVE CONTEMPLATED THAT THE ATTORNEYS

      8    FOR THE GOVERNMENT AND THE DEFENSE WOULD BE PHYSICALLY

      9    PRESENT IN CHINA.     IF THAT'S --

     10                 THE COURT:    IT WAS A LITTLE UNCLEAR, BUT I

     11    THINK THAT'S IMPRACTICAL.

     12                 MR. HARKER:    I WOULD SAY THAT IT IS, AND IT'S

     13    PARTICULARLY CONFUSING IN LIGHT OF THE RISK OF FLIGHT OF

     14    THE DEFENDANT AND THE ARGUMENT THAT SHE CAN'T GET TO

     15    CHINA.

     16                 THE COURT:    MR. JESSEE, HAVE YOU CONTACTED THE

     17    STATE DEPARTMENT?

     18                 MR. JESSEE:    I HAVE NOT CONTACTED OUR STATE

     19    DEPARTMENT, YOUR HONOR; BUT OUR LAWYER IN CHINA, I SENT

     20    MR. HARKER'S SUBMISSION THAT HE JUST WENT THROUGH OVER

     21    THERE TO ASK THEM WHAT THEIR UNDERSTANDING WAS AS TO WHAT

     22    WE WERE GOING TO HAVE TO DO TO GET THE INFORMATION

     23    NECESSARY, IF WE HAD TO GO THROUGH WHAT MR. HARKER JUST

     24    DESCRIBED.     THEY ASSURED ME THEY ARE WORKING ON IT FROM

     25    THEIR END, AND THEY BELIEVE THEY WILL HAVE PERMISSION TO




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      1    BE ABLE TO DO THE DEPOSITIONS IN BEIJING; AND THAT'S ALL I

      2    KNOW.

      3                  THE COURT:    ALL RIGHT.

      4                  MR. JESSEE:    ALL I TOLD THEM WAS I KNOW FROM

      5    OUR COCOUNSEL THAT WE WERE WORKING WITH AT THE BEGINNING

      6    THE PROBLEM WITH TAKING A DEPOSITION IN CHINA IS US

      7    SHOWING UP IN CHINA WITHOUT CLEARANCE AND THEY WILL ARREST

      8    US.     IF THE CHINESE GOVERNMENT CLEARS THE WITNESS THERE TO

      9    APPEAR AND WE TAKE IT BY VIDEO CONFERENCE, THERE IS NOT

     10    APPARENTLY THE HEIGHT OF CONCERN.        ALL I'M DOING IS

     11    RELYING ON WHAT THE INTERNATIONAL LAW FIRM THAT WAS

     12    RECOMMENDED TO ME BY THE LAW FIRM IN LOS ANGELES TO TALK

     13    TO AND DEAL WITH.

     14                  ORIGINALLY, WE HAD TALKED ABOUT THE POSSIBILITY

     15    OF BRINGING THE WITNESSES OUT TO HONG KONG JUST BECAUSE

     16    THERE'S A TREATY THAT FACILITATES IT VERY EASILY, AND AT

     17    THIS POINT THEY CAN'T TRAVEL TO HONG KONG.         SO I WILL

     18    REPORT IN A WEEK TO TELL HOPEFULLY HOW LONG AND WHAT IT

     19    WILL TAKE TO GET IT DONE.

     20                  THE COURT:    ALL RIGHT.   LET ME THROW OUT THREE

     21    POTENTIAL TRIAL DATES, AND YOU CAN REACT TO THESE; AND

     22    THESE MAY BE THE EARLIEST TRIAL DATES WE CAN FIND, BUT

     23    THEY ALSO MAY BE THE LATEST WE CAN FIND AND STILL

     24    ACCOMMODATE THE COURT'S SCHEDULE AND TO SOME EXTENT

     25    MR. HARKER'S SCHEDULE.      WE HAVE A MULTI-WEEK TRIAL




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      1    SCHEDULED FOR -- WHEN IS THAT, MID SEPTEMBER?

      2                  MR. HARKER:     YES, YOUR HONOR; AND I WOULD URGE

      3    THE COURT TO SCHEDULE THIS MATTER WITHOUT REGARD TO THAT

      4    MATTER.

      5                  THE COURT:     ALL RIGHT.

      6                  MR. HARKER:     TO CHOP THE WOOD THAT'S IN FRONT

      7    OF US.

      8                  THE COURT:     ALL RIGHT.   I WON'T TRY TO READ

      9    BETWEEN THE LINES ON THAT.

     10                  THE MOST LIKELY DATES ARE -- AND, OBVIOUSLY,

     11    THERE'S SOME UNCERTAINTY HERE, I DO NOT KNOW HOW LONG ALL

     12    THESE CONCERNS WILL LAST; BUT JULY 14, 21 OR 28.

     13                  MR. HARKER:     YOUR HONOR, FOR THE GOVERNMENT,

     14    JULY 14TH OR JULY 21ST WOULD WORK.        JULY 28TH WOULD -- THE

     15    END OF THAT, IF THE TRIAL LASTS A LITTLE UNDER TWO WEEKS,

     16    THE END OF THAT WOULD CONFLICT WITH ONE OF MY COCOUNSEL'S

     17    SCHEDULES, SO WE WOULD PREFER JULY 14TH OR JULY 21ST.

     18                  THE COURT:     ALL RIGHT.   MR. SHIPLEY,

     19    MR. JESSEE?

     20                  MR. JESSEE:     SUBJECT TO REPORTING TO THE COURT

     21    WHAT THIS POSSIBILITY OF THE VIDEO DEPOSITION, JULY 14TH

     22    ON MY SCHEDULE IS BETTER.

     23                  THE COURT:     MR. SHIPLEY, WHAT DOES YOUR

     24    CALENDAR LOOK LIKE?

     25                  MR. SHIPLEY:     JUDGE, I CAN MAKE EITHER ONE OF




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      1    THOSE WORK.    I MEAN, I HAVE A, I HAVE A FAMILY OBLIGATION

      2    THAT I HAD SET THERE FOR THE WEEK OF THE 14TH, BUT,

      3    OBVIOUSLY, IF THAT'S NOT CONVENIENT WITH THE COURT, SO I

      4    WILL DO THE 21ST, I COULD DO THE 21ST; BUT, JUDGE, THIS

      5    TAKES PRECEDENCE.

      6                  MR. JESSEE:     21ST IS FINE, OR THE 14TH JUDGE, I

      7    CAN DO EITHER ONE.

      8                  THE COURT:     ALL RIGHT.   ARE YOU PLANNING A

      9    VACATION ON THE 14TH?

     10                  MR. SHIPLEY:     JUDGE, I WAS; BUT, JUDGE, WITH

     11    ALL THE UNCERTAINTY, I DON'T KNOW THAT I'LL BE GOING

     12    ANYWHERE; BUT ALSO, JUDGE, I WANT TO SAY THIS TRIAL WOULD

     13    TAKE PRECEDENCE OVER ANY TYPE OF VACATION THING THAT I

     14    WOULD HAVE.    I MEAN, THE CHANCES OF ME GOING ON VACATION

     15    ON, IF THIS TRIAL WERE SET ON THE 21ST, OF COURSE, FOR

     16    THAT TIME IT'S HIGHLY UNLIKELY ANYWAY, SO.

     17                  THE COURT:     YOU'RE LIVING DANGEROUSLY BY SAYING

     18    THAT WITHOUT CONSULTING WITH YOUR WIFE AND CHILDREN.

     19                  MR. SHIPLEY:     FAIR POINT, JUDGE.

     20                  THE COURT:     WELL, HOW ABOUT THE 21ST?

     21                  MR. SHIPLEY:     FINE, YOUR HONOR.    THANK YOU.

     22                  THE COURT:     AND IF TWO WEEKS IS THE LENGTH,

     23    THEN IT SOUNDS LIKE WE CAN PROBABLY BE DONE IN ORDER TO

     24    ACCOMMODATE THE CONFLICTS WITH GOVERNMENT'S COUNSEL AS

     25    WELL.




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      1                  ALL RIGHT.   WE'LL RESET THE TRIAL FOR JANUARY

      2    21ST THEN.

      3                  THE CLERK:   JULY.

      4                  THE COURT:   NOT JANUARY.     I'VE GOTTEN RUSTY.

      5                  DR. YOU, I DIDN'T KNOW THIS HAD BEEN PREPARED,

      6    BUT THERE WAS SOMETHING I SHOULD HAVE DONE WITH YOU RIGHT

      7    AT THE BEGINNING OF THE HEARING.        THE CLERK HAS JUST

      8    HANDED ME A CONSENT TO APPEAR BY VIDEO CONFERENCE THAT HAS

      9    BEEN SIGNED APPARENTLY BY YOUR ATTORNEY WITH YOUR CONSENT

     10    AGREEING TO WAIVE YOUR RIGHT TO BE PERSONALLY PRESENT HERE

     11    TODAY AND APPEAR BY VIDEO CONFERENCE.        DID YOU AUTHORIZE

     12    THE PLACEMENT OF YOUR SIGNATURE ON THIS DOCUMENT?

     13                  THE DEFENDANT:    YES, YOUR HONOR.

     14                  THE COURT:   AND YOU UNDERSTAND THAT THIS WAIVES

     15    YOUR RIGHT TO APPEAR HERE IN COURT PERSONALLY FOR THIS

     16    PROCEEDING?

     17                  THE DEFENDANT:    YES, YOUR HONOR.

     18                  THE COURT:   ALL RIGHT.     AND HAVE ANY THREATS OR

     19    PROMISES BEEN MADE TO YOU BY ANYONE TO CONVINCE YOU TO

     20    SIGN THIS DOCUMENT?

     21                  THE DEFENDANT:    NO, YOUR HONOR.

     22                  THE COURT:   ALL RIGHT.     AND DID YOU REVIEW THE

     23    DOCUMENT WITH YOUR ATTORNEYS BEFORE YOU AUTHORIZED THE

     24    PLACEMENT OF YOUR SIGNATURE ON IT?

     25                  THE DEFENDANT:    YES, YOUR HONOR.




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      1                 THE COURT:     ALL RIGHT.   THEN I'LL MAKE A

      2    FINDING TO THE EXTENT NECESSARY THAT THE CONSENT TO APPEAR

      3    AND THE WAIVERS CONTAINED THEREIN IS KNOWINGLY AND

      4    VOLUNTARILY MADE, AND I WILL APPROVE IT.

      5                 THE DEFENDANT:     YES, YOUR HONOR.

      6                 THE COURT:     ALL RIGHT.   COUNSEL, ANYTHING ELSE

      7    WE NEED TO ADDRESS TODAY?

      8                 MR. SHIPLEY:     NOTHING FURTHER FROM ME, YOUR

      9    HONOR.

     10                 MR. HARKER:     YOUR HONOR, I JUST HAD A FEW EXTRA

     11    POINTS THAT I THINK WE COULD ADDRESS EXPEDITIOUSLY.

     12                 THE COURT:     ALL RIGHT.

     13                 MR. HARKER:     ONE IS THERE WAS A HEARING ABOUT A

     14    MONTH AGO WHERE THERE WAS SOME CONFUSION, I THINK, AT

     15    LEAST ON THE GOVERNMENT'S PART, ABOUT THE GOVERNMENT

     16    WANTED TO PUT ON THE RECORD THAT THE DEFENSE HAD MADE A

     17    STRATEGIC DECISION NOT TO REQUEST THE GOVERNMENT'S EXPERT

     18    DISCLOSURES.

     19                 THE COURT:     EXPERTS, YES.

     20                 MR. HARKER:     AND THAT'S THEIR RIGHT, THEY'RE

     21    ABSOLUTELY ABLE TO DO THAT, IT WOULD TRIGGER THE

     22    RECIPROCAL OBLIGATION ON THEIR BEHALF WERE THEY TO REQUEST

     23    THE GOVERNMENT'S EXPERT DISCLOSURES; BUT WE HAVE NOT

     24    PROVIDED THAT INFORMATION TO THEM BECAUSE THEY HAVE NOT

     25    REQUESTED IT, THAT'S ONE ISSUE.




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      1                  AT SOME POINT I THINK WE NEED TO HAVE A

      2    LAFLER/FRYE HEARING, AND THEN ALSO THERE IS A 120 PAGE

      3    TRANSCRIPT OF AN INTERVIEW.         WE HAVE PROVIDED THAT

      4    TRANSCRIPT TO THE DEFENSE.       I THINK WE'VE ASKED THEM TO --

      5                  THE COURT:    JUST A MINUTE.    THAT BACKGROUND

      6    NOISE, THAT NOISE IS GETTING WORSE, IS THAT THE PROBLEM

      7    YOU WERE TALKING TO ME EARLIER ABOUT?

      8                  MR. DEMBO {IT DEPARTMENT}:      YES, IT'S FROM

      9    MR. JESSEE'S LINE.

     10                  MR. JESSEE:    I CAN BARELY HEAR, JUDGE.

     11                  THE COURT:    WELL, I THINK ALL THE BACKGROUND

     12    NOISE THAT WE'RE HEARING HERE IS COMING FROM YOUR PHONE.

     13    IF YOU WILL MUTE IT, I THINK THAT MIGHT CORRECT -- I GUESS

     14    HE LEFT US.

     15                  MR. JESSEE:    NO, I'M ON MUTE.

     16                  THE COURT:    OKAY.    ALL RIGHT.

     17                  MR. JESSEE:    I'LL MUTE.

     18                  THE COURT:    IF YOU MUTE IT, THAT SOUNDS LIKE

     19    THAT SOLVES THE PROBLEM, AT LEAST PARTIALLY.

     20                  ALL RIGHT.    GO AHEAD, MR. HARKER, I'M SORRY.

     21                  MR. HARKER:    SO, YOUR HONOR, I DON'T KNOW IF WE

     22    NEED TO DISCUSS THESE ISSUES TODAY, BUT THERE IS THE

     23    REQUEST FOR THE GOVERNMENT'S EXPERT DISCLOSURES; SECOND,

     24    THERE'S -- IN ORDER TO AVOID IDEALLY A ROBINSON HEARING ON

     25    A LENGTHY TWO PLUS HOUR INTERVIEW, TRANSCRIBED INTERVIEW,




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      1    THE GOVERNMENT HAS PROVIDED A TRANSCRIPT TO THE DEFENSE.

      2    WE HAVE PROPOSED SOME CORRECTIONS TO IT, WE HAVE ASKED

      3    THEM TO GET BACK TO US, WE HOPE THEY CAN DO THAT PROMPTLY;

      4    BUT IN THE EVENT THAT THERE ARE SOME AREA OF DISAGREEMENT,

      5    OUR UNDERSTANDING OF THE COURT'S ORDER ON DISCOVERY AND

      6    SCHEDULING IS THAT THE PARTIES MUST IDENTIFY FOR THE COURT

      7    WHERE THE AREAS OF DISAGREEMENT ARE.        THE GOVERNMENT HAS

      8    PROVIDED THAT INFORMATION TO THE DEFENSE, SO THE BALL IS

      9    IN THEIR COURT; AND THEN, THIRD, AT SOME POINT, MAYBE NOT

     10    TODAY, WE WOULD ASK THAT WE PUT ON THE RECORD THAT THE

     11    DEFENDANT HAS FORMALLY REJECTED THE GOVERNMENT'S PLEA

     12    OFFER.

     13                 THE COURT:     ALL RIGHT.   I DON'T USUALLY DO A

     14    LAFLER/FRYE HEARING THIS EARLY IN THE PROCEEDINGS SIMPLY

     15    BECAUSE THINGS CHANGE AS WE APPROACH TRIAL, AND I WILL DO

     16    THAT MUCH CLOSER TO TRIAL.

     17                 MR. SHIPLEY, WHAT IS GOING ON WITH THE EXPERT

     18    DISCLOSURES, DO YOU INTEND TO SEEK RECIPROCAL DISCLOSURE

     19    AT SOME POINT IN THIS CASE?

     20                 MR. SHIPLEY:     YES, YOUR HONOR.    AND AS THE

     21    COURT CAN PROBABLY TELL, THAT WAS AN ISSUE THAT WAS A

     22    POINT OF CONTENTION DURING OUR LAST HEARING.         ANY

     23    INSINUATION THAT IT WAS -- AND MR. HARKER IS RIGHT, IT IS,

     24    IT CAN BE A STRATEGIC DECISION; HOWEVER, JUDGE, THAT IS

     25    NOT THE CASE HERE.     AS A MATTER OF FACT, JUDGE, MR. JESSEE




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      1    AND I SPOKE, SPOKE ABOUT THIS, WE, WE RECEIVED AN E-MAIL

      2    FROM MR. HARKER AT 11:27 THIS MORNING, AND I ASSUMED THAT

      3    THIS WOULD BE BROUGHT UP TO THE COURT.

      4                 MR. JESSEE HAS INFORMED ME THAT HIS, HIS

      5    ASSOCIATE THAT HE HAS, HE'S REQUESTED THAT SHE COMPLETE

      6    THE REQUEST FOR THE EXPERT DISCLOSURE, AND SHE'S NOT BEEN

      7    TO WORK IN THE PAST FEW DAYS BECAUSE SHE HAS PINK EYE AND

      8    MR. JESSEE DOESN'T WANT HER ANYWHERE AROUND THE OFFICE.           I

      9    OVERHEARD THE CONVERSATION WITH HE AND HER THIS MORNING,

     10    THAT'S SOMETHING HE HAS REQUESTED.

     11                 JUDGE, FROM OUR STANDPOINT WE ARE STILL WAITING

     12    ON OUR REPORT, AND THAT'S SOMETHING THAT IT'S NOT, IT'S

     13    NOT ANYTHING, JUDGE, THAT IT HAS BEEN A STRATEGIC ISSUE,

     14    IT'S A MATTER OF WE'VE MADE THAT DECISION, WE'VE DISCUSSED

     15    THAT, AND IT'S PENDING AS SOON AS -- WE SHOULD HAVE THAT

     16    TO THE GOVERNMENT WITHIN A WEEK, OUR REQUEST FOR ANY TYPE

     17    OF EXPERT DISCLOSURES, AND WE WILL OBVIOUSLY PROVIDE

     18    ANYTHING THAT WE HAVE WHEN WE OBTAIN IT.

     19                 THE COURT:     WHEN DO YOU ANTICIPATE GETTING AN

     20    EXPERT REPORT?

     21                 MR. SHIPLEY:     THE LAST TIME, JUDGE, THAT

     22    MR. JESSEE AND I SPOKE ABOUT THIS, AND TALKING WITH OUR

     23    EXPERT, WE, WE -- WE'RE EXPECTING THAT REPORT, JUDGE, ANY

     24    DAY FROM HIM; AND THAT'S SOMETHING, LIKE I SAID, JUDGE,

     25    ONCE WE, ONCE WE REQUEST THAT FROM THE GOVERNMENT, JUDGE,




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      1    WHICH SHOULD BE FORTHCOMING WITHIN THE NEXT -- HONESTLY,

      2    JUDGE, IF WE CAN GET IT TO THEM TOMORROW, WE WILL; BUT

      3    THAT'S SOMETHING IF I HAVE TO DRAFT IT, JUDGE, IT'S

      4    SOMETHING I'LL DO; BUT THAT WAS SOMETHING WE HAD GIVEN HER

      5    TO DO, AND IT WILL BE FORTHCOMING, JUDGE; BUT I DON'T SEE

      6    ANY TYPE OF UNDUE DELAY FROM OUR EXPERT REPORT.          I THINK

      7    HE HAS GONE THROUGH MOST OF EVERYTHING THAT HE HAS HAD

      8    ACCESS TO DO, JUDGE.

      9                 THAT'S ANOTHER THING THAT WE'RE HOPING TO

     10    PROVIDE TO THE COURT, ANOTHER THING THAT -- I DON'T KNOW

     11    THAT THE COURT NEEDS TO ADDRESS THAT NOW BECAUSE WE'RE

     12    HOPING WE CAN COME TO AN AGREEMENT WITH THE GOVERNMENT ON

     13    ANOTHER SUBSEQUENT MODIFICATION OF THIS PROTECTIVE ORDER

     14    IN THIS CASE, JUDGE.      THE -- MR. HARKER'S COCOUNSEL, WE

     15    HAVE BEEN IN CONTACT WITH HIM ABOUT MODIFYING THIS

     16    PROTECTIVE ORDER TO HAVE EASIER ACCESS TO THE DISCOVERY

     17    MATERIAL.    WE HAVE SENT A LENGTHY E-MAIL TO MR. WALCZEWSKI

     18    ABOUT SAFEKEEPING OF THE MATERIAL.        WE HAVE DESCRIBED THE

     19    SAFES THAT MR. JESSEE AND I BOTH HAVE THAT WE CAN STORE

     20    THE MATERIAL, THE QUOTE, UNQUOTE, TRADE SECRET MATERIAL.

     21    THAT'S SOMETHING ELSE, JUDGE, THAT WE DON'T WANT TO

     22    PRESENT TO THE COURT AT THIS POINT BECAUSE WE THINK WE'RE

     23    WORKING TOWARD A RESOLUTION ON PROVIDING THE COURT WITH

     24    SOMETHING OF AN AGREEMENT TO MODIFY THE PROTECTIVE ORDER

     25    TO ALLOW EASIER ACCESS TO THE DISCOVERY; AND I THINK,




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      1    JUDGE, THAT I CAN SAY THIS WITH A HIGH DEGREE OF

      2    CERTAINTY, IF -- THE REASON IT'S TAKING A LONG TIME TO --

      3    AND THIS IS NO, THIS IS NO CASTING STONES AGAINST THE

      4    GOVERNMENT BECAUSE WE UNDERSTAND THEIR POSITION, BUT IT'S

      5    THE ACCESS OUR EXPERT HAS HAD TO THE MATERIAL.          IT WAS

      6    HERE, AND THEN THEY WERE VERY ACCOMMODATING TO TAKE IT OUT

      7    TO THE FBI OFFICE IN LOS ANGELES, BUT IT'S A MATTER OF

      8    WHAT YOU CAN TAKE IN AND WHAT YOU CAN TAKE OUT; AND I

      9    THINK, JUDGE, THAT'S SOMETHING THAT WE ARE WORKING TOWARD

     10    GETTING THE COURT SOMETHING PENDING THE COURT'S APPROVAL

     11    OF MODIFYING THAT PROTECTIVE ORDER.

     12                 THE COURT:     ALL RIGHT.   IT SOUNDS LIKE YOU

     13    WON'T HAVE ANY TROUBLE THEN MAKING YOUR REQUEST FOR EXPERT

     14    DISCLOSURES WITHIN 14 DAYS?

     15                 MR. SHIPLEY:     NO, JUDGE, THAT WILL NOT BE A

     16    PROBLEM.

     17                 THE COURT:     ALL RIGHT, THEN THE DEFENDANT WILL

     18    MAKE THAT REQUEST WITHIN 14 DAYS OF TODAY.

     19                 AND DID -- I DON'T HAVE THE SCHEDULING ORDER IN

     20    FRONT OF ME, WAS THERE A DATE SET IN THAT SCHEDULING ORDER

     21    THEN FOR THE DISCLOSURE BY THE DEFENDANT?

     22                 MR. HARKER:     THERE WAS NOT, YOUR HONOR.

     23                 THE COURT:     WHAT DO YOU SUGGEST IS A REASONABLE

     24    TIME, MR. HARKER?

     25                 MR. HARKER:     YOUR HONOR, I -- AS LONG AS WE




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      1    HAVE IT TWO MONTHS IN ADVANCE OF TRIAL, A MONTH IN ADVANCE

      2    OF TRIAL, THAT'S SUFFICIENT.       I THINK THE ISSUE IS JUST

      3    PROTECTING THE RECORD HERE PRIMARILY.

      4                 THE COURT:     ALL RIGHT.   THEN THE PLAINTIFFS --

      5    I MEAN THE DEFENDANT WILL FILE THE REQUEST WITHIN 14 DAYS,

      6    THAT WILL TRIGGER THEN THE REQUIREMENT THAT THE DEFENDANT

      7    MAKE EXPERT DISCLOSURES WITHIN 30 DAYS OF THAT.

      8                 MR. HARKER:     THANK YOU, YOUR HONOR.

      9                 THE COURT:     I ADDRESSED LAFLER/FRYE.

     10                 WHAT'S YOUR PERSPECTIVE ON THIS TRANSCRIPT

     11    ISSUE AND THE NEED FOR A ROBINSON HEARING, MR. SHIPLEY?

     12                 MR. SHIPLEY:     JUDGE, I HAVE LOOKED THROUGH THE

     13    TRANSCRIPT AT LENGTH, I DON'T THINK IT'S GOING TO BE

     14    NECESSARY TO HAVE A ROBINSON HEARING.        I THINK THAT'S

     15    SOMETHING THAT I BELIEVE MR. HARKER AND I HAVE EVEN

     16    DISCUSSED THAT ABOUT THE CERTAIN STIPULATIONS THAT WE CAN

     17    POSSIBLY DO GOING INTO TRIAL.       THERE IS SOME INCON-

     18    SISTENCIES WITHIN THAT, JUDGE, SOME SPELLING AND SOME

     19    WORDS THAT I THINK ARE OUT OF CONTEXT, BUT THAT'S

     20    SOMETHING I THINK I CAN TAKE UP WITH MR. HARKER, AND I

     21    THINK WE CAN REACH AN AGREEMENT ON THAT ABOUT CERTAIN

     22    THINGS WITHOUT RESORTING TO HAVING A ROBINSON HEARING.

     23                 THE COURT:     ALL RIGHT.   OBVIOUSLY, A ROBINSON

     24    HEARING INVOLVING A TRANSCRIPT THIS LONG COULD TAKE A FAIR

     25    AMOUNT OF TIME.     I GUESS MY CONCERN HERE IS THAT WE NEED




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      1    TO GET THAT DONE AS FAR IN ADVANCE OF THE TRIAL DATE AS

      2    POSSIBLE.     CAN YOU COMPLETE YOUR REVIEW OF THAT TRANSCRIPT

      3    AND GIVE THE COURT A NOTICE WITHIN 30 DAYS OF WHETHER

      4    THERE WILL BE A ROBINSON HEARING REQUIRED?

      5                  MR. SHIPLEY:     JUDGE, I'LL DO SO.

      6                  THE COURT:     ALL RIGHT.   IS THAT SATISFACTORY,

      7    MR. HARKER?

      8                  MR. HARKER:     YES, IT IS, YOUR HONOR.    THANK

      9    YOU.

     10                  THE COURT:     ALL RIGHT.   AND AS FAR AS THE

     11    PROTECTIVE ORDER MODIFICATION IS CONCERNED, MR. SHIPLEY, I

     12    DON'T HAVE ANYTHING BEFORE ME AT THIS POINT.          HOPEFULLY

     13    YOU ALL CAN REACH A, AN AGREEMENT ON THAT.          I -- I TAKE IT

     14    IF DR. YOU IS RELEASED ON BOND, THAT SOME OF THE CONCERNS

     15    ABOUT THAT BECOME MOOT?       I MEAN, SHE IS -- I MEAN, YOU'RE

     16    TELLING ME SHE'S LIVING WITHIN A HALF MILE OF THE FBI'S

     17    OFFICE, IT SEEMS TO ME THAT HER REVIEW OF THOSE DOCUMENTS

     18    AT THE FBI'S OFFICE WOULD BE FAR, FAR PREFERABLE TO WHAT

     19    YOU HAVE NOW.

     20                  MR. SHIPLEY:     IT WOULD BE, JUDGE, AND THAT'S

     21    SOMETHING THAT WE'VE TALKED A LOT ABOUT IN THE PROTECTIVE

     22    ORDER THAT WAS PRIOR TO -- WE'VE BEEN DISCUSSING THAT FOR

     23    QUITE SOME TIME, JUDGE, WITH THE GOVERNMENT AS A MODIFICA-

     24    TION; BUT, YES, JUDGE, I MEAN, THAT, THE ELEPHANT -- THE

     25    PROVERBIAL ELEPHANT IN THE ROOM HERE IF SHE WERE TO BE




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      1    RELEASED ON SOME TYPE OF BOND, THEN THAT WOULD ALLOW

      2    EASIER ACCESS TO LOOK AT THE MATERIAL, JUDGE, YOU'RE

      3    ABSOLUTELY CORRECT ON THAT.

      4                 I THINK MR. JESSEE AND I AND OUR EXPERT IN LOS

      5    ANGELES WERE TALKING TO THE GOVERNMENT WITH THE

      6    UNDERSTANDING THAT US HAVING THE MATERIAL, BEING ABLE TO

      7    GO OVER THAT MATERIAL, DO THE PROPER TRIAL PREP WITHOUT

      8    HAVING TO GO TO THE FBI TO LOOK AT IT; BUT, JUDGE, IF SHE

      9    IS RELEASED, THAT'S EASIER ACCESS TO EVERYTHING.

     10                 SO THAT'S SOMETHING THAT PENDING THE COURT'S

     11    ORDER ON, ONE OF THE REASONS WE'RE HERE TODAY ON RELEASE,

     12    I THINK THAT WILL MORE THAN LIKELY CAUSE THE NEXT

     13    CONVERSATION WITH MR. HARKER AND MR. WALCZEWSKI ABOUT WHAT

     14    WE'RE GOING TO DO TO THE UNDERLYING PROTECTIVE ORDER.

     15                 THE COURT:     ALL RIGHT.   YOU JUST SAID YOUR

     16    EXPERT IS IN LOS ANGELES?

     17                 MR. SHIPLEY:     THAT'S CORRECT, JUDGE.

     18                 THE COURT:     ONE OF THE THINGS YOU NEED TO DO,

     19    OBVIOUSLY, I WOULD EXPECT YOU TO DO ANYWAY, IS COMMUNICATE

     20    TO YOUR EXPERT WHAT THE REQUIREMENTS FOR DISCLOSURE ARE

     21    GOING TO BE, AND, OBVIOUSLY YOUR EXPERT NEEDS TO GET THOSE

     22    REPORTS, REPORT OR REPORTS TO YOU IN SUFFICIENT TIME THAT

     23    YOU DON'T HAVE TO ASK FOR AN EXTENSION OF THAT DEADLINE.

     24                 MR. SHIPLEY:     JUDGE, I'LL CONTACT HIM THIS

     25    AFTERNOON.




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      1                 THE COURT:     ALL RIGHT.

      2                 ALL RIGHT.     THEN IS THAT ALL WE CAN DO EXCEPT

      3    FOR THE BOND ISSUE?

      4                 MR. HARKER:     THAT'S EVERYTHING FROM THE

      5    GOVERNMENT, YOUR HONOR.

      6                 MR. SHIPLEY:     EVERYTHING I HAVE, JUDGE.

      7                 THE COURT:     ALL RIGHT.   WELL, AS FAR AS THE

      8    MOTION FOR RELEASE ON BOND, I CONTINUE TO BE BOTHERED BY

      9    THE FACT THAT THIS HEARING WAS EVEN NECESSARY BECAUSE

     10    THERE WERE INDEED STATEMENTS MADE IN BOTH THE DEFENDANT'S

     11    MOTION AND THE ACCOMPANYING MEMORANDUM THAT HAVE PROVEN TO

     12    BE INACCURATE.     I DO NOT MAKE ANY FINDING THAT THE LAWYERS

     13    WERE INTENTIONALLY MISREPRESENTING ANY FACT TO THE COURT;

     14    HOWEVER, I AGREE WITH MR. HARKER, ESPECIALLY IN LIGHT OF

     15    THE FACT THAT THERE IS A WRITTEN LEASE COVERING THAT

     16    JOHNSON CITY PROPERTY, THAT DR. YOU AND/OR HER HUSBAND

     17    WERE FULLY AWARE THAT THAT JOHNSON CITY PROPERTY WAS NOT

     18    AVAILABLE AT THAT TIME FOR HER TO RESIDE THERE; AND TO THE

     19    EXTENT THAT RAISES A CREDIBILITY PROBLEM WITH DR. YOU,

     20    THEN THAT CREDIBILITY PROBLEM EXTENDS BEYOND THE ISSUES

     21    RAISED IN THE MOTION FOR BOND AND, FRANKLY, CALLS INTO

     22    QUESTION THE CREDIBILITY OF CERTAIN PROMISES SHE WOULD BE

     23    REQUIRED TO MAKE TO THIS COURT IF SHE WERE RELEASED ON

     24    BOND.

     25                 I WILL GIVE YOU WHAT I WILL TERM AS A




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      1    PRELIMINARY RULING ON THE MOTION.        THERE WILL NOT BE A

      2    FINAL RULING ON THE MOTION, HOWEVER, UNTIL YOU RECEIVE THE

      3    COURT'S MEMORANDUM OPINION.

      4                 DESPITE MY CONCERN ABOUT THAT, IT APPEARS TO ME

      5    THAT THE FINDINGS MADE IN THE COURT'S PRIOR ORDER, THE NOW

      6    VACATED ORDER, WERE IN FACT JUSTIFIED, AND I SEE NO REASON

      7    TO CHANGE THEM.     I AM INCLINED TO GRANT THE MOTION FOR

      8    BOND SUBJECT TO CONDITIONS.

      9                 DO YOU HAVE THAT, BY THE WAY?

     10                 AND IT WOULD BE OUR GOAL, OF COURSE, TO GET YOU

     11    A FINAL ORDER ON THIS BY WEEK'S END.

     12                 DESPITE THE GOVERNMENT'S ARGUMENT THAT THE RISK

     13    OF FLIGHT HAS IN FACT BECOME GREATER GIVEN THE CIRCUM-

     14    STANCES, I SIMPLY DO NOT AGREE.       IN ADDITION, I THINK THE

     15    POSSIBILITY OF RISK OF HARM TO THE DEFENDANT AND/OR OTHER

     16    INMATES AT THE JAIL WHERE SHE IS CURRENTLY HOUSED AS A

     17    RESULT OF THE COVID-19 VIRUS ARE INDEED REAL DESPITE THE

     18    FACT THAT THERE DO NOT APPEAR TO BE ANY CONFIRMED CASES OF

     19    THE VIRUS AT THAT PARTICULAR FACILITY.

     20                 SEVERAL THINGS LEAD ME TO THE CONCLUSION THAT

     21    THAT RISK IS VERY REAL AND THAT IT IS A SIGNIFICANT FACTOR

     22    IN DETERMINING WHETHER OR NOT TO RELEASE DR. YOU ON BOND

     23    PENDING THE JANUARY -- EXCUSE ME, I SAID JANUARY AGAIN --

     24    JULY 21 TRIAL DATE.

     25                 FIRST OF ALL, THERE HAVE BEEN SOME SERIOUS OUT-




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      1    BREAKS IN CORRECTIONAL FACILITIES ACROSS THE COUNTRY, AT

      2    LEAST ONE IN A BUREAU OF PRISONS FACILITY, BUT ALSO A

      3    NUMBER IN LOCAL JAILS.      THAT RISK IS VERY REAL BECAUSE

      4    THERE ARE A LARGE NUMBER OF PEOPLE CONFINED IN A RELA-

      5    TIVELY SMALL SPACE WITH BOTH VISITORS AND NEW INMATES

      6    COMING INTO THOSE FACILITIES ON A REGULAR BASIS.

      7                 NOW, CERTAINLY THE PRECAUTIONS THAT MR. HARKER

      8    HAS DESCRIBED ARE IMPORTANT, BUT ONE OF THE THINGS THAT'S

      9    OCCURRED DURING THIS BREAK FROM COURT ACTIVITY IS THAT THE

     10    COURT HAS HAD A LOT OF TIME TO DO READING AND HAVE READ

     11    SOME ARTICLES JUST IN THE LAST FEW DAYS THAT INDICATE THAT

     12    PEOPLE WHO ARE COMPLETELY ASYMPTOMATIC NEVERTHELESS CAN

     13    SPREAD THE VIRUS.

     14                 I ALSO NOTE THAT IN THE LAST COUPLE OF WEEKS

     15    THE ATTORNEY GENERAL HAS TAKEN SOME ACTIONS THAT ARE

     16    SIGNIFICANT IN THAT RESPECT.       NUMBER ONE, AT THE ATTORNEY

     17    GENERAL'S DIRECTION THE BUREAU OF PRISONS IS CONDUCTING A

     18    REVIEW IN AN ATTEMPT TO IDENTIFY INMATES WHO BECAUSE OF

     19    AGE OR UNDERLYING MEDICAL CONDITIONS OR OTHER THINGS ARE

     20    MORE SUSCEPTIBLE TO THE VIRUS AND PROVIDING FOR THEIR

     21    RELEASE EARLIER THAN MIGHT OTHERWISE HAVE BEEN THE CASE TO

     22    A HALFWAY HOUSE OR TO HOME INCARCERATION.

     23                 IN ADDITION, JUST TWO DAYS AGO THE ATTORNEY

     24    GENERAL ISSUED A MEMO TO UNITED STATES ATTORNEYS, AMONG

     25    OTHERS, THAT -- AND THIS IS MY PARAPHRASE -- DIRECTS THAT




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      1    CONSIDERATION BE GIVEN TO THE RISK, NOT ONLY ACTUAL RISK,

      2    BUT POTENTIAL RISK TO A DEFENDANT BASED UPON INCARCERATION

      3    WITHOUT BOND.     I WON'T READ TOO MUCH INTO THE ATTORNEY

      4    GENERAL'S MEMO, BUT CERTAINLY THE ATTORNEY GENERAL

      5    INDICATES THAT THE RISK FROM COVID-19 SHOULD BE A FACTOR

      6    IN THE UNITED STATES ATTORNEY'S OFFICE ANALYSIS OF WHETHER

      7    TO RECOMMEND BOND OR IN RESPONDING TO AND LITIGATING

      8    MOTIONS FILED BY PREVIOUSLY DETAINED DEFENDANTS FOR BOND.

      9                 I HAVE TO ADMIT THAT THE ISSUE OF RELEASE FOR

     10    THIS DEFENDANT IS A CLOSE CALL HERE, BUT I WOULD ALSO NOTE

     11    THE BURDEN OF PROOF THAT'S ON THE GOVERNMENT IN THIS

     12    RESPECT.    SO I AM INCLINED, ALTHOUGH I WANT TO THINK ABOUT

     13    IT JUST A LITTLE BIT AND DISCUSS IT WITH MY LAW CLERK, TO

     14    GRANT THE MOTION FOR RELEASE.       THAT RELEASE, HOWEVER,

     15    WOULD BE SUBJECT TO SOME SIGNIFICANT CONDITIONS.

     16                 FIRST OF ALL, THE DEFENDANT WILL BE REQUIRED TO

     17    POST AN APPEARANCE BOND IN THE AMOUNT OF $500,000, AT

     18    LEAST PARTIALLY SECURED BY A $100,000 CASH DEPOSIT WITH

     19    THE COURT AND A DEED OF TRUST SECURING AT LEAST ONE OF THE

     20    PROPERTIES OWNED BY THE DEFENDANT AND HER HUSBAND EITHER

     21    IN WASHINGTON COUNTY, TENNESSEE OR IN ATLANTA, GEORGIA.

     22    I -- THE PRETRIAL REPORT INDICATED A VALUE OF THE

     23    WASHINGTON COUNTY PROPERTY OF APPROXIMATELY $250,000 AND

     24    OF THE ATLANTA PROPERTY OF APPROXIMATELY $500,000.          I

     25    WOULD NOTE THAT IN ORDER FOR THAT CONDITION TO BE MET,




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      1    DR. YOU'S HUSBAND WILL HAVE TO SIGN THE NECESSARY DOCU-

      2    MENTS; AND ALTHOUGH COUNSEL WILL HAVE TO CONFIRM THIS WITH

      3    THE CLERK'S OFFICE, I BELIEVE THAT WHAT ACTUALLY HAS TO BE

      4    DONE IS A DEED OF TRUST PREPARED AND SIGNED BY BOTH

      5    PARTIES IN FAVOR OF THE CLERK, I THINK THAT'S THE WAY

      6    THAT'S DONE.

      7                  THE CLERK:   I BELIEVE IT IS, YOUR HONOR.

      8                  THE COURT:   SO THAT WOULD BE THE FIRST

      9    CONDITION.

     10                  SECONDLY, THE DEFENDANT WILL BE REQUIRED TO

     11    RESIDE IN THE NORTHEASTERN DIVISION OF THE UNITED STATES

     12    DISTRICT COURT FOR THE EASTERN DISTRICT OF TENNESSEE,

     13    PRESUMABLY IN WASHINGTON COUNTY OR GREENE COUNTY, DURING

     14    THE PERIOD OF THE BOND.      SHE WILL BE SUBJECT TO HOME

     15    DETENTION DURING THAT PERIOD OF TIME WITH ELECTRONIC

     16    MONITORING.    INITIALLY THE DEFENDANT WILL BE REQUIRED TO

     17    COMPLY WITH ALL CDC REQUIREMENTS, INCLUDING THE TWO WEEK

     18    QUARANTINE, AND I BELIEVE IT'S TWO WEEKS, QUARANTINE

     19    DURING WHICH TIME SHE WOULD BE SUBJECT TO 24 HOUR A DAY, 7

     20    DAY A WEEK DETENTION AT HOME.       IN OTHER WORDS, SHE

     21    COULDN'T LEAVE HOME FOR THAT -- I BELIEVE IT'S A 14 DAY

     22    PERIOD.    SOMEBODY NEEDS TO CONFIRM.

     23                  DID YOU CONFIRM IT WAS 14 DAYS?

     24                  PROBATION OFFICER:    NO, YOUR HONOR, BUT I

     25    WILL.




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      1                 THE COURT:    SOMEBODY NEEDS TO CONFIRM THAT IT'S

      2    14 DAYS.    WHATEVER THAT REQUIREMENT IS, SHE NEEDS TO BE

      3    UNDER QUARANTINE.     AFTER THAT, SHE WILL BE PERMITTED TO

      4    LEAVE HER RESIDENCE FOR ONLY ONE OF THE FOLLOWING REASONS:

      5    NUMBER ONE, TO SEE A DOCTOR IF SHE NEEDS TO DO THAT;

      6    SECONDLY, TO VISIT A PHARMACY TO PICK UP A PRESCRIPTION;

      7    THIRD, TO GO TO THE GROCERY STORE; AND, FOURTH, TO MEET

      8    WITH HER LAWYERS AT WHATEVER LOCATION IS REQUIRED BY HER

      9    ATTORNEYS, EITHER AT ONE OF THEIR OFFICES OR POSSIBLY AT

     10    THE FBI'S REGIONAL OFFICE IN JOHNSON CITY.

     11                 LET ME GO BACK TO THE RESIDENCE REQUIREMENT.

     12    OBVIOUSLY, SHE MUST RESIDE AT A PLACE APPROVED BY THE

     13    UNITED STATES PROBATION OFFICE AS A SUITABLE RESIDENCE.

     14    AND GIVEN THE FACT THAT INTERNET ACCESS IS USUALLY WIRED

     15    INTO THESE APARTMENT COMPLEXES, SHE WILL SURRENDER AND NOT

     16    POSSESS ANY DEVICE ON WHICH SHE MIGHT ACCESS THE INTERNET,

     17    COMPUTER, CELL PHONE, I-PAD -- I JUST LEARNED RECENTLY

     18    THAT YOU CAN CONNECT TO THE INTERNET WITH AN X-BOX, I

     19    DIDN'T KNOW THAT -- BUT ANY DEVICE THAT'S CAPABLE OF

     20    CONNECTING TO THE INTERNET.

     21                 DURING THE PERIOD OF THE BOND -- OH, AND

     22    BECAUSE IT IS HOME DETENTION, THE LOCATION WILL HAVE TO

     23    HAVE A LANDLINE TELEPHONE.       DURING THE PERIOD OF THE BOND,

     24    THE DEFENDANT WILL BE REQUIRED TO PLACE A CALL FROM THAT

     25    LANDLINE TO HER SUPERVISING UNITED STATES PROBATION




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      1    OFFICER AT LEAST TWICE DAILY.       AND I'M TOLD THAT THE

      2    TECHNOLOGY ALLOWS THE PROBATION OFFICE TO CONFIRM THAT THE

      3    CALL, CALL WAS IN FACT MADE FROM THAT LANDLINE.          IN

      4    ADDITION, THE PROBATION OFFICER IS AUTHORIZED TO MAKE

      5    RANDOM PHONE CALLS TO THE DEFENDANT TO CONFIRM THAT SHE IS

      6    PRESENT AT THAT LOCATION.

      7                 NOW, BECAUSE THE DEFENDANT DOES NOT HAVE A

      8    DRIVER'S LICENSE AND WILL NOT BE PERMITTED TO OBTAIN A

      9    DRIVER'S LICENSE, SHE WILL HAVE TO ARRANGE FOR ANY

     10    NECESSARY TRANSPORTATION.

     11                 DID I MISS ANYTHING?

     12                 PROBATION OFFICER:     YOUR HONOR, WILL SHE BE

     13    REQUIRED TO PAY FOR HER ELECTRONIC MONITORING?

     14                 THE COURT:    SHE WILL, THE ELECTRONIC MONITORING

     15    WILL BE AT HER EXPENSE.

     16                 PROBATION OFFICER:     AND GIVEN THE CURRENT

     17    SITUATION WITH COVID-19 AND EVERYTHING, WE'RE NOT SURE

     18    WHEN WE WILL BE ABLE TO HOOK HER UP.

     19                 THE COURT:    I'M NOT GOING TO PUT A TIME LIMIT

     20    ON THAT, I UNDERSTAND THAT THERE ARE SOME TIME CONSTRAINTS

     21    ON GETTING ALL THAT HOOKED UP.

     22                 PROBATION OFFICER:     THANK YOU, YOUR HONOR.

     23                 THE COURT:    BUT I WOULD LIKE IT HOOKED UP AS

     24    SOON AS POSSIBLE AFTER SHE IS RELEASED, OBVIOUSLY.

     25                 PROBATION OFFICER:     YES, YOUR HONOR.




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      1                 THE COURT:    BEYOND THAT, SHE WILL BE SUBJECT TO

      2    THE USUAL CONDITIONS OF BOND.

      3                 IN ADDITION TO WHAT I'VE ALREADY SAID ABOUT

      4    CONTACT WITH THE PROBATION OFFICE, SHE WILL BE REQUIRED TO

      5    REPORT ON A REGULAR BASIS TO THE UNITED STATES PROBATION

      6    OFFICE AND TO COOPERATE FULLY WITH ALL PRETRIAL SERVICE

      7    OFFICERS OR THEIR DESIGNEES; AND SHE MUST REFRAIN FROM ANY

      8    VERBAL OR PHYSICAL ABUSE OF ANY PRETRIAL SERVICE OFFICER

      9    OR OTHER OFFICIAL IN THE PERFORMANCE OF HIS OR HER DUTIES.

     10                 THE DEFENDANT MUST REFRAIN FROM POSSESSING A

     11    FIREARM, AMMUNITION, A DESTRUCTIVE DEVICE OR ANY OTHER

     12    KIND OF DANGEROUS WEAPON.

     13                 AND THIS SAYS EXECUTE A BAIL BOND WITH SOLVENT

     14    SURETIES IN THE AMOUNT OF $100,000.        I INTEND FOR THERE TO

     15    BE A DEPOSIT WITH THE CLERK OF $100,000, ALL RIGHT.

     16                 AND IF SHE HAS ANY PASSPORT IN HER POSSESSION,

     17    THAT MUST BE SURRENDERED TO THE UNITED STATES PROBATION

     18    OFFICE, AND SHE IS PROHIBITED FROM OBTAINING ANY NEW

     19    PASSPORT.

     20                 SHE MUST HAVE NO CONTACT WITH KNOWN CONVICTED

     21    FELONS, DRUG DEALERS, DRUG USERS, CODEFENDANTS OR ANY

     22    PERSON WHO VIOLATES THE LAW.

     23                 SHE MUST REPORT ANY CONTACT WITH LAW ENFORCE-

     24    MENT PERSONNEL, INCLUDING BUT NOT LIMITED TO ANY ARRESTS,

     25    QUESTIONING OR TRAFFIC STOP TO THE PRETRIAL OFFICER AS




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      1    SOON AS POSSIBLE.

      2                 AND, OBVIOUSLY, SHE MUST APPEAR AT ANY TIME

      3    THAT HER APPEARANCE IS REQUIRED IN CONNECTION WITH THIS

      4    CASE.    SHE MUST REMAIN IN CONTACT ON A REGULAR BASIS WITH

      5    HER ATTORNEYS AND COOPERATE FULLY WITH HER ATTORNEYS.

      6                 AND UPON THE ENTRY OF THE COURT'S ORDER, I

      7    UNDERSTAND THIS BOND CAN ACTUALLY BE E-MAILED TO HER AT

      8    THE DETENTION FACILITY AND SHE CAN SIGN IT FROM THERE?

      9                 THE CLERK:     YOUR HONOR --

     10                 THE COURT:     IS THAT WHAT HAPPENS?

     11                 THE CLERK:     -- WASHINGTON COUNTY DOES NOT ALLOW

     12    THAT, THE OTHER ONES DO, AND SO THIS NEEDS TO BE GIVEN TO

     13    HER COUNSEL AND THEN TAKEN TO HER, THAT'S MY UNDERSTANDING

     14    THAT WASHINGTON COUNTY DOES NOT ALLOW THAT.

     15                 THE COURT:     MR. SHIPLEY, MR. JESSEE, DID YOU

     16    BOTH HEAR THAT?     WASHINGTON COUNTY WON'T ALLOW IT TO BE

     17    SIGNED ELECTRONICALLY, AND THIS IS GOING TO REQUIRE THAT

     18    IT BE TAKEN TO HER AT THE JAIL TO BE SIGNED, WHICH IS -- I

     19    DIDN'T KNOW WASHINGTON COUNTY HAD DONE THAT, BUT THAT'S

     20    UNWISE, BUT APPARENTLY THE CONDITIONS THEY HAVE.

     21                 MR. SHIPLEY:     JUDGE, I'LL TAKE CARE OF IT,

     22    ACCORDINGLY.

     23                 THE COURT:     AND ONCE IT'S SIGNED BY THE

     24    DEFENDANT, THEN IT CAN BE SUBMITTED TO THE COURT, AND I

     25    WILL SIGN IT.




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      1                 ALL RIGHT.    DID I MISS ANY CONDITION THAT

      2    ANYBODY WANTED TO DISCUSS?

      3                 I THINK, AS MR. HARKER SAID, THAT DOES LARGELY

      4    TRACK THE CONDITIONS SUGGESTED BY THE GOVERNMENT.

      5                 MR. HARKER:    I THINK IT DOES, YOUR HONOR.

      6    THANK YOU.

      7                 THE COURT:    ALL RIGHT.

      8                 MR. HARKER:    YOUR HONOR, IF I MAY?

      9                 THE COURT:    YES, YOU MAY.

     10                 MR. HARKER:    I UNDERSTAND THAT THE COURT HAS

     11    ONLY ISSUED A PRELIMINARY ORDER AT THIS TIME --

     12                 THE COURT:    YES.

     13                 MR. HARKER:    -- AND THAT IT WILL TAKE THE

     14    MATTER UNDER ADVISEMENT AND, AS YOUR HONOR SAID, DISCUSS

     15    IT WITH THE CLERK.     IF THE COURT DOES ULTIMATELY ENTER

     16    THIS ORDER, I'VE BEEN INSTRUCTED TO MOVE THE COURT THAT

     17    THE COURT DELAY THE EXECUTION OF THAT ORDER FOR 72 HOURS

     18    SO THAT THE UNITED STATES CAN COMPLETE ITS CONSULTATION

     19    WITH THE SOLICITOR GENERAL'S OFFICE WHETHER OR NOT TO SEEK

     20    AN APPEAL.

     21                 THE COURT:    I'LL TAKE THAT REQUEST UNDER

     22    ADVISEMENT AS WELL.

     23                 MR. HARKER:    THANK YOU, YOUR HONOR.

     24                 THE COURT:    I JUST WAS LOOKING AT A SIXTH

     25    CIRCUIT DOCKET SHEET EARLIER TODAY, AND THERE'S AN




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      1    EMERGENCY MOTION THAT'S BEEN PENDING BEFORE THE SIXTH

      2    CIRCUIT FOR ABOUT FOUR WEEKS THAT THEY HAVEN'T RULED ON,

      3    SO THE ODDS THAT YOU GET A QUICK RULING OUT OF THE SIXTH

      4    CIRCUIT ON ANYTHING ARE PRETTY SLIM, BUT CERTAINLY THE

      5    GOVERNMENT CAN DO WHATEVER IT DECIDES TO DO IN THAT

      6    RESPECT.

      7                  MR. HARKER:     THANK YOU, YOUR HONOR.

      8                  THE COURT:     ALL RIGHT.   ANYTHING ELSE?

      9                  MR. HARKER:     NO, YOUR HONOR.

     10                  MR. SHIPLEY:     NOTHING FURTHER, YOUR HONOR.

     11                  THE COURT:     ALL RIGHT.   LET'S KEEP THIS CASE

     12    MOVING AND TRY TO GET THIS CASE TRIED IN JULY, AND THAT

     13    MAKES THE NECESSARY ARRANGEMENTS THAT NEED TO BE MADE WITH

     14    RESPECT TO THESE DEPOSITIONS OF CONSIDERABLE IMPORTANCE,

     15    AND SO I'LL LOOK FORWARD TO YOUR STATUS REPORT IN A WEEK

     16    ABOUT THE, ABOUT THE STATUS OF THAT.

     17                  MR. SHIPLEY:     THANK YOU.

     18                  THE COURT:     ALL RIGHT.   THANK YOU ALL VERY

     19    MUCH.    THAT WILL CONCLUDE THE COURT'S HEARING.

     20                  MR. HARKER:     THANK YOU, YOUR HONOR.

     21                  THE DEFENDANT:     THANK YOU, YOUR HONOR.

     22                  THE COURT:     MR. OVERBEY, GOOD TO SEE YOU.

     23                  MR. OVERBEY:     GOOD TO SEE YOU.

     24            (PROCEEDINGS ARE CONCLUDED AT 3:12 P.M.)

     25    I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT FROM




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      1    THE RECORD OF PROCEEDINGS IN THE ABOVE-ENTITLED MATTER.

      2

      3
           KAREN J. BRADLEY/S                                04/10/2020
      4    SIGNATURE OF COURT REPORTER                       DATE

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